Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 1 of 91




                           FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT

        EPIC GAMES, INC.,                          No. 21-16506
              Plaintiff-counter-
              defendant-Appellant,                   D.C. No.
                                                  4:20-cv-05640-
         v.                                            YGR

        APPLE, INC.,
             Defendant-counter-                      OPINION
             claimant- Appellee.


        EPIC GAMES, INC.,                          No. 21-16695
              Plaintiff-counter-
              defendant-Appellee,                    D.C. No.
                                                  4:20-cv-05640-
         v.                                            YGR

        APPLE, INC.,
             Defendant-counter-
             claimant-Appellant.

                Appeal from the United States District Court
                   for the Northern District of California
              Yvonne Gonzalez Rogers, District Judge, Presiding

                 Argued and Submitted November 14, 2022
                         San Francisco, California
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 2 of 91
        2                  EPIC GAMES, INC. V. APPLE, INC.


                               Filed April 24, 2023

            Before: SIDNEY R. THOMAS and MILAN D. SMITH,
              JR., Circuit Judges, and MICHAEL J. MCSHANE, *
                                 District Judge.

                     Opinion by Judge Milan D. Smith, Jr.;
             Partial Concurrence and Partial Dissent by Judge S.R.
                                   Thomas


                                  SUMMARY **


                                     Antitrust

            The panel affirmed in part and reversed in part the
        district court’s judgment, after a bench trial, against Epic
        Games, Inc., on its Sherman Act claims for restraint of trade,
        tying, and monopoly maintenance against Apple, Inc.; in
        favor of Epic on its claim under California’s Unfair
        Competition Law; against Epic on Apple’s claim for breach
        of contract; and against Apple on its claim for attorney
        fees. The panel affirmed except for the district court’s ruling
        respecting attorney fees, where it reversed and remanded for
        further proceedings.



        *
          The Honorable Michael J. McShane, United States District Judge for
        the District of Oregon, sitting by designation.
        **
           This summary constitutes no part of the opinion of the court. It has
        been prepared by court staff for the convenience of the reader.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 3 of 91
                         EPIC GAMES, INC. V. APPLE, INC.              3


            The panel explained that, when Apple opened the iPhone
        to third-party app developers, it created a “walled garden,”
        rather than an open ecosystem in which developers and users
        could transact freely without mediation from Apple. Epic
        alleged that Apple acted unlawfully by restricting app
        distribution on iOS devices to Apple’s App Store, requiring
        in-app purchases on iOS devices to use Apple’s in-app
        payment processor, and limiting the ability of app
        developers to communicate the availability of alternative
        payment options to iOS device users. These restrictions
        were imposed under the Developer Program Licensing
        Agreement (“DPLA”), which developers were required to
        sign in order to distribute apps to iOS users. The district
        court rejected Epic’s Sherman Act §§ 1 and 2 claims
        challenging the first and second restrictions, principally on
        the factual grounds that Epic failed to propose viable less
        restrictive alternatives to Apple’s restrictions. The district
        court concluded that the third restriction was unfair pursuant
        to the California UCL and enjoined Apple from enforcing it
        against any developer. The district court held that Epic
        breached its contract with Apple but was not obligated to pay
        Apple’s attorney fees.
            On Epic’s appeal, the panel affirmed the district court’s
        denial of antitrust liability and its corresponding rejection of
        Epic’s illegality defense to Apple’s breach of contract
        counter-claim. The panel held that the district court erred as
        a matter of law in defining the relevant antitrust market and
        in holding that a non-negotiated contract of adhesion, such
        as the DPLA, falls outside the scope of Sherman Act § 1, but
        those errors were harmless. The panel held that,
        independent of the district court’s errors, Epic failed to
        establish, as a factual matter, its proposed market definition
        and the existence of any substantially less restrictive
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 4 of 91
        4               EPIC GAMES, INC. V. APPLE, INC.


        alternative means for Apple to accomplish the
        procompetitive justifications supporting iOS’s walled-
        garden ecosystem.
            On Apple’s cross-appeal, the panel affirmed as to the
        district court’s UCL ruling in favor of Epic, holding that the
        district court did not clearly err in finding that Epic was
        injured, err as a matter of law when applying California’s
        flexible liability standards, or abuse its discretion when
        fashioning equitable relief. Reversing in part, the panel held
        that the district court erred when it ruled that Apple was not
        entitled to attorney fees pursuant to the DPLA’s
        indemnification provision.
            Concurring in part and dissenting in part, Judge S.R.
        Thomas wrote that he fully agreed with the majority that the
        district court properly granted Epic injunctive relief on its
        California UCL claims. Judge S.R. Thomas also fully
        agreed that the district court properly rejected Epic’s
        illegality defenses to the DPLA but that, contrary to the
        district court’s decision, the DPLA did require Epic to pay
        attorney fees for its breach. On the federal claims, Judge
        S.R. Thomas also agreed that the district court erred in
        defining the relevant market and erred when it held that a
        non-negotiated contract of adhesion falls outside the scope
        of Sherman Act § 1. Unlike the majority, however, Judge
        S.R. Thomas would not conclude that these errors were
        harmless because they related to threshold analytical steps
        and affected Epic’s substantial rights. He would remand for
        the district court to re-analyze the case using the proper
        threshold determination of the relevant market.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 5 of 91
                        EPIC GAMES, INC. V. APPLE, INC.          5


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Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 6 of 91
        6              EPIC GAMES, INC. V. APPLE, INC.


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Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 7 of 91
                        EPIC GAMES, INC. V. APPLE, INC.           7


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Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 8 of 91
        8              EPIC GAMES, INC. V. APPLE, INC.


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Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 9 of 91
                        EPIC GAMES, INC. V. APPLE, INC.           9


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Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 10 of 91
        10              EPIC GAMES, INC. V. APPLE, INC.


                                 OPINION

        M. SMITH, Circuit Judge:

             Epic Games, Inc. sued Apple, Inc. pursuant to the
        Sherman Act, 15 U.S.C. §§ 1–2, and California’s Unfair
        Competition Law (UCL), Cal. Bus. & Prof. Code § 17200 et
        seq. Epic contends that Apple acted unlawfully by
        restricting app distribution on iOS devices to Apple’s App
        Store, requiring in-app purchases on iOS devices to use
        Apple’s in-app payment processor, and limiting the ability
        of app developers to communicate the availability of
        alternative payment options to iOS device users. Apple
        counter-sued for breach of contract and indemnification for
        its attorney fees arising from this litigation.
            After a sixteen-day bench trial involving dozens of
        witnesses and nine hundred exhibits, the district court
        rejected Epic’s Sherman Act claims challenging the first and
        second of the above restrictions—principally on the factual
        grounds that Epic failed to propose viable less restrictive
        alternatives to Apple’s restrictions.       The court then
        concluded that the third restriction is unfair pursuant to the
        UCL and enjoined Apple from enforcing it against any
        developer. Finally, it held that Epic breached a contract with
        Apple but was not obligated to pay Apple’s attorney fees.
        Epic appeals the district court’s Sherman Act and breach of
        contract rulings; Apple cross-appeals the district court’s
        UCL and attorney fees rulings. We affirm the district court,
        except for its ruling respecting attorney fees, where we
        reverse and remand for further proceedings.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 11 of 91
                           EPIC GAMES, INC. V. APPLE, INC.                  11


              FACTUAL AND PROCEDURAL HISTORY
        I.      The Parties
            Apple is a multi-trillion-dollar technology company that,
        of particular relevance here, sells desktop and laptop
        computers (Macs), smartphones (iPhones), and tablets
        (iPads). In 2007, Apple entered, and revolutionized, the
        smartphone market with the iPhone—offering consumers,
        through a then-novel multi-touch interface, access to email,
        the internet, and several preinstalled “native” apps that
        Apple had developed itself. Shortly after the iPhone’s debut,
        Apple decided to move on from its native-apps-only
        approach and open the iPhone’s (and later, the iPad’s)
        operating system (iOS) to third-party apps. 1
            This approach created a “symbiotic” relationship: Apple
        provides app developers with a substantial consumer base,
        and Apple benefits from increased consumer appeal given
        the ever-expanding pool of iOS apps. Apple now has about
        a 15% market share in the global smartphone market with
        over 1 billion iPhone users, and there are over 30 million iOS
        app developers. Considering only video game apps, the
        number of iOS games has grown from 131 in the early days
        of the iPhone to over 300,000 by the time this case was
        brought to trial. These gaming apps generate an estimated
        $100 billion in annual revenue.
           Despite this general symbiosis, there is periodic friction
        between Apple and app developers. That is because Apple,
        when it opened the iPhone to third-party developers, did not

        1
          The iPad has its own operating system (iPadOS) that is derived from
        iOS. For convenience, we use “iOS” to refer to both the iPhone and
        iPad’s operating systems and collectively refer to iPhones and iPads as
        “iOS devices.”
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 12 of 91
        12                EPIC GAMES, INC. V. APPLE, INC.


        create an entirely open ecosystem in which developers and
        users could transact freely without any mediation. Instead,
        Apple created a “walled garden” in which Apple plays a
        significant curating role. 2 Developers can distribute their
        apps to iOS devices only through Apple’s App Store and
        after Apple has reviewed an app to ensure that it meets
        certain security, privacy, content, and reliability
        requirements. Developers are also required to use Apple’s
        in-app payment processor (IAP) for any purchases that occur
        within their apps. Subject to some exceptions, Apple
        collects a 30% commission on initial app purchases
        (downloading an app from the App Store) and subsequent
        in-app purchases (purchasing add-on content within an app).
            Epic is a multi-billion-dollar video game company with
        three primary lines of business, each of which figures into
        various aspects of the parties’ appeals. First, Epic is a video
        game developer—best known for the immensely popular
        Fortnite, which has over 400 million users worldwide across
        gaming consoles, computers, smartphones, and tablets. Epic
        monetizes Fortnite using a “freemium” model: The game is
        free to download, but a user can purchase certain content
        within the game, ranging from game modes to cosmetic
        upgrades for the user’s character. Fortnite is also notable as
        one of the first major video games to feature “cross-play,”
        “cross-progression,” and “cross-wallet.” Cross-play permits
        users on different platforms to play with one another.
        Smartphone users, for example, can play against friends on
        gaming consoles. Cross-progression allows users to retain
        their in-game progress across every device they own. Users

        2
          Many game consoles—including the Microsoft Xbox, Nintendo
        Switch, and Sony PlayStation—provide ecosystems that can similarly be
        labeled “walled gardens.”
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 13 of 91
                        EPIC GAMES, INC. V. APPLE, INC.            13


        can, for example, play Fortnite in the morning on their
        smartphones and then pick up with their progress saved on
        their gaming consoles in the evening. Cross-wallet allows
        users to spend Fortnite’s in-game currency on one device
        even if they purchased it on another.           This cross-
        functionality gives the estimated 32 to 52% of Fortnite users
        who own multiple gaming devices flexibility regarding
        where and how they play as well as on which devices they
        make in-game purchases.
            Second, Epic is the parent company of a gaming-
        software developer. Epic International (a Swiss subsidiary)
        licenses Unreal Engine to game developers. Unreal Engine
        offers developers a suite of tools to create three-dimensional
        content; in return, Epic International receives 5% of a
        licensee’s gross revenue from a product developed using
        Unreal Engine after that product generates $1,000,000 in
        revenue. Although Unreal Engine is not on Apple’s App
        Store, Epic International does offer several complementary
        apps there. Unreal Remote and Live Link Face, for example,
        allow users to capture live-action footage and then view it on
        Unreal Engine. Thus, Epic—through its subsidiary—
        continues to be affected by the policies that govern the App
        Store.
            Third, Epic is a video game publisher and distributor. It
        offers the Epic Games Store as a game-transaction platform
        on PC computers and Macs and seeks to do the same for iOS
        devices. As a distributor, Epic makes a game available for
        download on the Epic Games Store and covers the direct
        costs of distribution; in exchange, Epic receives a 12%
        commission—a below-cost commission that sacrifices
        short-term profitability to build market share. The Epic
        Games Store has over 180 million registered accounts and
        over 50 million monthly active users. Through the Epic
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 14 of 91
        14              EPIC GAMES, INC. V. APPLE, INC.


        Games Store, Epic is a would-be competitor of Apple for
        iOS game distribution and a direct competitor when it comes
        to games that feature cross-platform functionality like
        Fortnite.
        II.    The Developer Program Licensing Agreement
            Apple creates its walled-garden ecosystem through both
        technical and contractual means. To distribute apps to iOS
        users, a developer must pay a flat $99 fee and execute the
        Developer Program Licensing Agreement (DPLA). The
        DPLA is a contract of adhesion; out of the millions of
        registered iOS developers, only a handful have convinced
        Apple to modify its terms.
            By agreeing to the DPLA, developers unlock access to
        Apple’s vast consumer base—the over 1 billion users that
        make up about 15% of global smartphone users. They also
        receive tools that facilitate the development of iOS aps,
        including advanced application-programming interfaces,
        beta software, and an app-testing software. In essence,
        Apple uses the DPLA to license its IP to developers in
        exchange for a $99 fee and an ongoing 30% commission on
        developers’ iOS revenue.
            The DPLA contains the three provisions that give rise to
        this lawsuit and were mentioned in the introduction. First,
        developers can distribute iOS apps only through the App
        Store (the distribution restriction). Epic Games, for
        example, cannot make the Epic Games Store available as an
        iOS app and then offer Fortnite for download through that
        app. Second, developers must use Apple’s IAP to process
        in-app payments (the IAP requirement). Both initial
        downloads (where an app is not free) and in-app payments
        are subject to a 30% commission. Third, developers cannot
        communicate out-of-app payment methods through certain
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 15 of 91
                         EPIC GAMES, INC. V. APPLE, INC.            15


        mechanisms such as in-app links (the anti-steering
        provision). “Apps and their metadata may not include
        buttons, external links, or other calls to action that direct
        customers to purchasing mechanisms other than [IAP].” Nor
        can developers use “points of contact obtained from account
        registration within the app (like email or text) [to] encourage
        users to use a purchasing method other than [IAP].”
        III.   Apple and Epic’s Business Relationship
            In 2010, Epic agreed to the DPLA. Over the next few
        years, Epic released three games for iOS, each of which
        Apple promoted at major events. In 2015, however, Epic
        began objecting to Apple’s walled-garden approach. Epic’s
        CEO Tim Sweeney argued, in an email seeking a meeting
        with Apple senior leadership, that it “doesn’t seem tenable
        for Apple to be the sole arbiter of expression and commerce”
        for iOS users, and explained that Epic runs a competing
        game-transaction platform that it “would love to eventually”
        offer on iOS. Nothing came of this email, and Epic
        continued to offer games on iOS while complying with the
        DPLA’s terms. In 2018, Epic released Fortnite on iOS—
        amassing about 115 million iOS users.
            In 2020, Epic renewed the DPLA with Apple but sought
        a “side letter” modifying its terms. In particular, Epic
        desired to offer iOS users alternatives for distribution (the
        Epic Games Store) and in-app payment processing (Epic
        Direct Pay). Apple flatly rejected this offer, stating: “We
        understand this might be in Epic’s financial interests, but
        Apple strongly believes these rules are vital to the health of
        the Apple platform and carry enormous benefits for both
        consumers and developers. The guiding principle of the App
        Store is to prove a safe, secure, and reliable experience for
        users . . . .”
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 16 of 91
        16               EPIC GAMES, INC. V. APPLE, INC.


              Once Apple rejected its offer, Epic kicked into full gear
        an initiative called “Project Liberty”: a two-part plan it had
        been developing since 2019 to undermine Apple’s control
        over software distribution and payment processing on iOS
        devices, as well as Google’s influence over Android devices.
        Project Liberty coupled a media campaign against Apple and
        Google with a software update expressly designed to
        circumvent Apple’s IAP restriction. On the media-campaign
        side, Epic lowered the price of Fortnite’s in-app purchases
        on all platforms but Apple’s App Store and Google’s Google
        Play Store; it formed an advocacy group (the Coalition for
        App Fairness), tasking it with “generating continuous media
        . . . pressure” on Apple and Google; and it ran
        advertisements portraying Apple and Google as the “bad
        guys” standing in the way of Epic’s attempt to pass cost-
        savings onto consumers.
            On the IAP-circumvention side, Epic submitted a
        Fortnite software update (which Epic calls a “hotfix”) to
        Apple for review containing undisclosed code that, once
        activated, would enable Fortnite users to make in-game
        purchases without using Apple’s IAP. Unaware of this
        undisclosed code, Apple approved the update and it was
        made available to iOS users. Shortly thereafter Epic
        activated the undisclosed code and opened its IAP
        alternative to users. That same day, Apple became aware of
        the hotfix and removed Fortnite from the App Store. Apple
        informed Epic that it had two weeks to cure its breaches of
        the DPLA, or otherwise Apple would terminate Epic Games’
        developer account.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 17 of 91
                          EPIC GAMES, INC. V. APPLE, INC.                17


        IV.      Procedural History
              A. Pre-Trial Proceedings
            Only three days after Apple removed Fortnite from the
        App Store, Epic filed a 62-page complaint against Apple in
        the Northern District of California seeking a temporary
        restraining order (TRO) reinstating Fortnite and enjoining
        Apple from terminating Epic’s iOS developer account. 3 The
        district court granted Epic’s prayer in part and denied in
        part—leaving Fortnite off the App Store but temporarily
        preventing Apple from taking any adverse action regarding
        Epic’s developer account. After the TRO expired, Apple
        terminated Epic’s developer account. The court then issued
        a preliminary injunction preventing Apple from terminating
        the developer accounts of Epic’s subsidiaries (including
        Epic International) and scheduled a bench trial on an
        expedited basis, with trial beginning just about eight months
        after Epic filed its complaint.
            Epic brought claims for permanent injunctive relief
        pursuant to the Sherman Act and the UCL. Epic’s requested
        relief, though somewhat vague, would essentially convert
        iOS into an entirely open platform: Developers would be
        free to distribute apps through any means they wish and use
        any in-app payment processor they choose. Taken together,
        this relief would create a pathway for developers to bypass
        Apple’s 30% commission altogether, though Epic made
        open-ended assurances at trial that its relief would allow

        3
          The same day, Epic filed a 60-page complaint against Google,
        challenging its policies regarding the Google Play Store on Android
        devices—i.e., smartphones and tablets that use the main operating-
        system alternative to iOS. See Complaint for Injunctive Relief, Epic
        Games, Inc. v. Google LLC, No. 3:20-cv-05671 (filed Aug. 13, 2020
        N.D. Cal.).
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 18 of 91
        18                 EPIC GAMES, INC. V. APPLE, INC.


        Apple to collect a commission—just not in the manner that
        the DPLA establishes. Apple brought counter-claims for
        breach of contract and indemnification for its attorney fees
        related to this litigation. 4
             B. The District Court’s Rule 52 Order
            After a sixteen-day bench trial, the district court issued a
        180-page order pursuant to Federal Rule 52 detailing its
        findings of facts and conclusions of law.
                 1. Market Definition
            The district court began its analysis by defining the
        relevant market for Epic’s Sherman Act claims. Epic
        proposed two single-brand markets: the aftermarkets for
        iOS app distribution and iOS in-app payment solutions,
        derived from a foremarket for smartphone operating
        systems. Apple, by contrast, proposed the market for all
        video game transactions, whether those transactions occur
        on a smartphone, a gaming console, or elsewhere. The
        district court ultimately found a market between those the
        parties proposed: mobile-game transactions—i.e., game
        transactions on iOS and Android smartphones and tablets.
        Compared to Epic’s proposed aftermarkets, the district
        court’s relevant market was both broader and narrower—
        broader in that it declined to focus exclusively on iOS, but
        narrower in that it considered only video game transactions
        instead of all app transactions. Compared to Apple’s
        proposed market, the district court’s relevant market was

        4
         We omit any discussion of the following claims that the parties asserted
        below but do not address before our court: (1) Epic’s Cartwright Act
        claims; (2) Apple’s counter-claim for breach of the implied covenant of
        good faith and fair dealing; and (3) Apple’s counter-claim for unjust
        enrichment.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 19 of 91
                        EPIC GAMES, INC. V. APPLE, INC.            19


        narrower—excluding game-console and streaming-service
        transactions.
            The district court rejected Epic’s proposed single-brand
        markets on several grounds. It held that there was no
        foremarket for smartphone and tablet operating systems
        because Apple does not license or sell iOS. More critically,
        it analyzed Epic’s aftermarkets in the alternative and found
        a failure of proof. Epic presented no evidence regarding
        whether consumers unknowingly lock themselves into
        Apple’s app-distribution and IAP restrictions when they buy
        iOS devices. A natural experiment facilitated by Apple’s
        removal of Fortnite from the App Store showed that iOS
        Fortnite users switched about 87% of their pre-removal iOS
        spending to other platforms—suggesting substitutionality
        between the App Store and other game-transaction
        platforms. The district court also rejected Apple’s relevant
        market-definition expert as “weakly probative” and “more
        interested in a result [that] would assist his client than in
        providing any objective ground to assist the court in its
        decision-making” (cleaned up). Among other flaws, the
        expert’s analysis contradicted his own academic articles on
        how to analyze two-sided markets; used consumer-survey
        wording that departed from well-established market-
        definition principles; failed to account for holiday-season
        idiosyncrasies; and excluded minors (who are an important
        segment of mobile-game purchasers). The district court then
        turned to Apple’s proposed relevant market definition and
        refined it from all game transactions to mobile game
        transactions by relying extensively on the “practical indicia”
        of markets enumerated in the Supreme Court’s decision in
        Brown Shoe v. United States, 370 U.S. 294, 325 (1962).
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 20 of 91
        20               EPIC GAMES, INC. V. APPLE, INC.


               2. Sherman Act Section 1: Restraint of Trade
            The district court then rejected Epic’s Sherman Act
        Section 1 restraint-of-trade-claim. As a threshold matter, the
        court held that the DPLA was not a “contract[]” that fell
        within the scope of Section 1 because it was a “contract of
        adhesion,” not a truly bargained-for agreement. It then, in
        the alternative, applied the Rule of Reason—the antitrust
        liability standard applicable to most cases.
            At step one of the Rule of Reason, the district court found
        that Epic proved substantial anticompetitive harms through
        both direct and indirect evidence. Apple has for years
        charged a supracompetitive commission on App Store
        transactions that it set “without regard” for competition.
        That commission, in turn, creates an “extraordinary high”
        operating margin of 75% for App Store transactions.
        Moreover, Apple has market power in the mobile-games-
        transactions market, evidenced by its 52 to 57% market share
        and barriers to entry in the form of network effects. Apple
        uses that market power to prevent would-be competitors like
        Epic from offering app-distribution and payment-processing
        alternatives, reducing innovation and Apple’s own
        investment in the App Store in the process.
            At step two of the Rule of Reason, the district court
        found that Apple established non-pretextual, legally
        cognizable procompetitive rationales for its app-distribution
        and IAP restrictions. The district court credited Apple’s
        rationale that its restrictions seek to enhance consumer
        appeal and differentiate Apple products by improving iOS
        security and privacy. It also partially accepted Apple’s
        rationale that the restrictions are a means of being
        compensated for third-party developers’ use of its
        intellectual property—crediting it generally but rejecting it
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 21 of 91
                        EPIC GAMES, INC. V. APPLE, INC.           21


        “with respect to the [App Store’s] 30% commission rate
        specifically.”
            At step three of the Rule of Reason, the district court
        rejected Epic’s proposed less restrictive alternatives (LRAs)
        as severely underdeveloped. As a purported LRA to Apple’s
        app-distribution restriction, Epic primarily advanced a
        “notarization model” based on Apple’s approach to security
        on the Mac operating system (macOS). On macOS, Apple
        does not mandate an exclusive distribution channel, as it
        does on iOS; nor does Apple condition distribution of an app
        on first submitting that app to Apple for review. But when
        a developer chooses to forego submitting an app to Apple,
        that app—regardless of how it is distributed to Mac users—
        will carry a warning that Apple has not scanned it for
        malware. Critically, the macOS notarization model does not
        contain a layer of human review as iOS app review does.
        Given this discrepancy, the district court found that such a
        model would not be as effective as Apple’s current model in
        achieving Apple’s security and privacy goals. It briefly
        considered whether Apple could close the gap by imposing
        a security and privacy floor on third-party app stores, but
        then noted that it is unclear whether doing so would comport
        with Epic’s requested injunctive relief. In any event, the
        court found that Epic failed to prove the notarization model
        would accomplish Apple’s IP-compensation rationale
        because Epic’s requested relief “leave[s] unclear whether
        Apple can collect licensing fee royalties and, if so, how it
        would do so.”
           As a purported LRA for the IAP requirement, Epic
        proposed opening in-app payment processing to competing
        vendors. The district court again rejected the proposed LRA
        as not being as effective as Apple’s current model in
        accomplishing its security and privacy goals. More
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 22 of 91
        22               EPIC GAMES, INC. V. APPLE, INC.


        fundamentally, there was little in the record showing how
        Epic envisioned Apple accomplishing its IP-compensation
        goal through the proposed LRA. Because the court upheld
        the app-distribution restriction, Apple would still be entitled
        to its 30% commission on in-app purchases within apps
        downloaded from the App Store. On its own initiative, the
        district court floated the idea of Apple permitting multiple
        in-app payment processors while reserving a right to audit
        developers to ensure compliance with the 30% commission.
        But it quickly rejected that as an alternative because it
        “would seemingly impose both increased monetary and time
        costs.”
               3. Sherman Act Section 1: Tying
            The district court rejected Epic’s Sherman Act claim that
        Apple ties in-app payment processing (IAP) to app
        distribution (the App Store). It did so on the grounds that
        neither of the purported separate products were actually
        separate. As a result, it did not decide which liability
        standard—per se condemnation or the Rule of Reason—
        would govern the arrangement’s lawfulness.
               4. Sherman Act             Section      2:   Monopoly
                  Maintenance
             The district court also rejected Epic’s claim that Apple
        monopolized the market for mobile-games transactions.
        Though Apple has significant market power, the court found
        it to be insufficiently durable given the rapidly changing
        nature of the market. In any event, the court reiterated its
        Rule of Reason analysis to hold that Apple did not maintain
        its power through anticompetitive conduct.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 23 of 91
                         EPIC GAMES, INC. V. APPLE, INC.            23


               5. Unfair Competition Law
            The court then applied the UCL to Apple’s anti-steering
        provision. The court found that Epic is sufficiently injured
        to seek injunctive relief because Epic is a competing games
        distributor and would earn additional revenue but for
        Apple’s restrictions. On the merits, the court applied the
        competitor-suit “tethering test” and consumer-suit
        “balancing test” and found the anti-steering provision to be
        “unfair” pursuant to both. The court concluded that Epic
        satisfied all the requirements for injunctive relief and the
        nature of Epic’s injury warranted an injunction preventing
        Apple from enforcing the provision against any developer.
               6. Breach of Contract
            Turning to Apple’s counter-claims, the district found
        Epic liable for breach of the DPLA. Epic had stipulated that
        the Project Liberty hotfix breached the DPLA’s IAP
        requirement, so the only dispute was whether Epic could
        prove that the contract was illegal, void as against public
        policy, or unconscionable. The district court rejected each
        of these affirmative defenses.
               7. Attorney Fees
            Finally, the district court rejected Apple’s
        indemnification claim, which asserted Epic was obligated to
        pay its attorney fees incurred in this litigation. The DPLA
        provides that Epic “agree[s] to indemnify and hold harmless
        [Apple] . . . from any and all claims, losses, liabilities,
        damages, taxes, expenses and costs, including without
        limitation, attorneys’ fees and court costs . . . , incurred by
        [Apple] and arising from or related to” Epic’s “breach of any
        certification, covenant, obligation, representation or
        warranty in [the DPLA].” Applying a principle of California
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 24 of 91
        24               EPIC GAMES, INC. V. APPLE, INC.


        contract law requiring a clear statement before finding an
        indemnification clause to apply to disputes between the
        parties themselves, the district court construed the provision
        as applicable only to third-party claims.
             C. Post-Trial Proceedings
            Following the handing down of the district court’s order,
        the parties timely appealed and cross-appealed. Apple also
        moved to stay the UCL injunction pending appeal—arguing
        that Epic lacked standing in light of its developer account
        termination and that injunctive relief was inappropriate. The
        district court denied the motion and a panel of our court
        granted it in part.
             JURISDICTION AND STANDARD OF REVIEW
            We have jurisdiction pursuant to 28 U.S.C. § 1291. In
        an appeal following a bench trial, we review the district
        court’s factual findings for clear error and its conclusions of
        law de novo. Oakland Bulk & Oversized Terminal, LLC v.
        City of Oakland, 960 F.3d 603, 612 (9th Cir. 2020). We
        specify the applicable standards of review throughout our
        opinion.
                                 ANALYSIS
            On appeal, Epic challenges the district court’s Sherman
        Act and breach of contract rulings. We affirm the district
        court’s denial of antitrust liability and its corresponding
        rejection of Epic’s illegality defense to Apple’s breach of
        contract counter-claim. Though the district court erred as a
        matter of law on several issues, those errors were harmless.
        Independent of the district court’s errors, Epic failed to
        establish—as a factual matter—its proposed market
        definition and the existence of any substantially less
        restrictive alternative means for Apple to accomplish the
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 25 of 91
                         EPIC GAMES, INC. V. APPLE, INC.             25


        procompetitive justifications supporting iOS’s walled-
        garden ecosystem.
            On cross-appeal, Apple challenges the district court’s
        UCL and attorney fees rulings. We affirm in part and reverse
        and remand in part. The district court did not clearly err in
        finding that Epic was injured, err as a matter of law when
        applying California’s flexible liability standards, or abuse its
        discretion when fashioning equitable relief. The district
        court did, however, err when it held that Apple was not
        entitled to attorney fees pursuant to the DPLA’s
        indemnification provision.
        I.      Market Definition
            We begin with Epic’s appeal. Epic argues that the
        district court incorrectly defined the relevant market for its
        antitrust claims to be mobile-game transactions instead of
        Epic’s proposed aftermarkets of iOS app distribution and
        iOS in-app payment solutions. Epic contends both that the
        district court erred as a matter of law by requiring several
        threshold showings before finding a single-brand market and
        that, once those errors are corrected, the record compels the
        conclusion that Epic established its single-brand markets.
        We agree that the district court erred in certain aspects of its
        market-definition analysis but conclude that those errors
        were harmless. Despite some threshold errors, the district
        court proceeded to analyze Epic’s evidence pursuant to the
        proper legal framework and did not clearly err in rejecting
        Epic’s proposed relevant markets. In particular, Epic failed
        to produce any evidence showing—as our precedent
        requires—that consumers are generally unaware of Apple’s
        app-distribution and IAP restrictions when they purchase
        iOS devices.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 26 of 91
        26                  EPIC GAMES, INC. V. APPLE, INC.


             A. General Market-Definition Principles
            The Sherman Act contains two principal prohibitions.
        Section 1 targets concerted action, rendering unlawful
        “every contract, combination . . . , or conspiracy, in restraint
        of trade.” 15 U.S.C. § 1. Section 2 targets independent
        action, making it unlawful to “monopolize, or attempt to
        monopolize, or combine or conspire with any other person
        or persons, to monopolize any part of the trade or commerce
        among the several States.” Id. § 2; see Copperweld Corp. v.
        Indep. Tube Corp., 467 U.S. 752, 767 (1984) (“The Sherman
        Act contains a ‘basic distinction between concerted and
        independent action.’” (quoting Monsanto Co. v. Spray-Rite
        Serv. Corp., 465 U.S. 752, 761 (1984))). 5
            There are two general categories of liability standards for
        Sherman Act claims. Flaa v. Hollywood Foreign Press
        Ass’n, 55 F.4th 680, 685 (9th Cir. 2022). “A small group of
        restraints are unreasonable per se because they ‘always or
        almost always tend to restrict competition and decrease
        output.’” Id. (quoting Ohio v. Am. Express Co. (“Amex”),
        138 S. Ct. 2274, 2283 (2018)). When a per se prohibition
        applies, we deem a restraint unlawful without any “elaborate
        study of the industry” in which it occurs. Id. (quoting
        Texaco Inc. v. Dagher, 547 U.S. 1, 5 (2006)). Most


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          This concerted/independent distinction is somewhat imprecise because
        Section 2 also encompasses certain concerted action—i.e., “conspiring
        with any other person or persons” to monopolize a market. See
        Dreamstime.com, LLC v. Google LLC, 54 F.4th 1130, 1137 (9th Cir.
        2022) (“Section 2 of the Sherman Act prohibits concerted and
        independent action that ‘monopolize[s] or attempt[s] to monopolize.’”).
        However, because the distinction is a useful shorthand that is accurate in
        the mine-run of cases and used throughout the Supreme Court’s and our
        court’s decisions, we adopt it here as well.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 27 of 91
                           EPIC GAMES, INC. V. APPLE, INC.                   27


        restraints, however, are subject to the Rule of Reason: a
        multi-step, burden-shifting framework that “requires courts
        to conduct a fact-specific assessment” to determine a
        restraint’s “actual effect” on competition. Amex, 138 S. Ct.
        at 2284 (quoting Copperweld, 467 U.S. at 768).
            The Rule of Reason applies “essentially the same”
        regardless of “whether the alleged antitrust violation
        involves concerted anticompetitive conduct under § 1 or
        independent anticompetitive conduct under § 2.” FTC v.
        Qualcomm Inc., 969 F.3d 974, 991 (9th Cir. 2020); see also
        Flaa, 55 F.4th at 685 (“Because the legal tests for sections 1
        and 2 of the Sherman Act similar, we can ‘review claims
        under each section simultaneously.’” (quoting Qualcomm,
        969 F.3d at 991)).
            In most, though not all, Rule of Reason cases, a
        “threshold step” is defining the relevant market in which the
        alleged restraint occurs. Qualcomm, 969 F.3d at 992; see
        also Amex, 138 S. Ct. at 2285 (“[C]ourts usually cannot
        properly apply the rule of reason without an accurate
        definition of the relevant market.”). 6 Because Epic asserts

        6
          Despite dicta in Qualcomm suggesting the contrary, we have never held
        that a precise market definition is an absolute requirement “in any
        antitrust case.” Qualcomm, 969 F.3d at 992. We apply per se rules (e.g.,
        the prohibition against price-fixing) without inquiring into market
        power. See, e.g., Dagher, 547 U.S. at 5 (per se rules require “no
        elaborate study of the industry”). Moreover, as the Supreme Court noted
        in Amex, it has previously applied the Rule of Reason—in its so-called
        “quick look” cases—without first defining the exact contours of the
        relevant market. 138 S. Ct. at 2285 n.7 (citing FTC v. Ind. Fed’n of
        Dentists, 476 U.S. 447 (1986), and Catalano, Inc. v. Target Sales, Inc.,
        446 U.S. 643 (1980)); see also 1 Julian Von Kalinowski, Peter Sullivan
        & Maureen, Antitrust Laws and Trade Regulation § 12.01[3] (2022)
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 28 of 91
        28                 EPIC GAMES, INC. V. APPLE, INC.


        Rule of Reason claims and presented both direct and indirect
        evidence of Apple’s market power, we begin our analysis
        with market definition.
            The relevant market for antitrust purposes is “the area of
        effective competition”—i.e., “the arena within which
        significant substitution in consumption or production
        occurs.” Amex, 138 S. Ct. at 2285 (quoting Phillip E. Areeda
        & Herbert Hovenkamp, Fundamentals of Antitrust Law §
        5.02 (4th ed. 2017)); see also Image Tech. Servs., Inc. v.
        Eastman Kodak Co., 125 F.3d 1195, 1202 (9th Cir. 1997)
        (“The relevant market is the field in which meaningful
        competition is said to exist.”). A relevant market contains
        both a geographic component and a product or service
        component. Hicks v. PGA Tour, Inc., 897 F.3d 1109, 1120
        (9th Cir. 2018).
            A market comprises “any grouping of sales whose
        sellers, if unified by a monopolist or a hypothetical cartel”
        could profitably raise prices above a competitive level.
        Rebel Oil Co., Inc. v. Atl. Richfield Co., 51 F.3d 1421, 1434
        (9th Cir. 1995). If the “sales of other producers [could]
        substantially constrain the price-increasing ability of the
        monopolist or hypothetical cartel, these other producers
        must be included in the market.” Id. To conduct this inquiry,
        courts must determine which products have a “‘reasonable
        interchangeability of use’ or sufficient ‘cross-elasticity of
        demand’” with each other. Hicks, 897 F.3d at 1120 (quoting
        Brown Shoe, 370 U.S. at 325); see also United States v. E. I.

        (“Usually, the ‘quick look’ does not require a detailed analysis of the
        relevant market and market power.”); Phillip E. Areeda & Herbert
        Hovenkamp, Antitrust Law ⁋ 1911a (4th ed. 2022) (“[D]ifferent
        applications of the rule of reason require different types and levels of
        inquiry.”).
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 29 of 91
                        EPIC GAMES, INC. V. APPLE, INC.          29


        du Pont de Nemours & Co., 351 U.S. 377, 400 (1956)
        (emphasizing “the responsiveness of the sales of one product
        to price changes of [another]”).
            Often, this inquiry involves empirical evidence in the
        form of a “SSNIP” analysis. That analysis echoes Rebel Oil
        and uses past consumer-demand data and/or consumer-
        survey responses to determine whether a hypothetical
        monopolist could profitably impose a Small, Significant,
        Non-transitory Increase in Price above a competitive level.
        As we have previously summarized this analysis:

                 [A]n economist proposes a narrow
                 geographic and product market definition
                 and then iteratively expands that
                 definition until a hypothetical monopolist
                 in the proposed market would be able to
                 profitably make a small but significant
                 non-transitory      increase    in   price
                 (“SSNIP”). At each step, if consumers
                 would respond to a SSNIP by making
                 purchases outside the proposed market
                 definition, thereby rendering the SSNIP
                 unprofitable, then the proposed market
                 definition is too narrow. At the next step,
                 the economist expands the proposed
                 geographic or product market definition to
                 include the substituted products or area.
                 This process is repeated until a SSNIP in
                 the proposed market is predicted to be
                 profitable for the hypothetical monopolist.

        Optronic Techs., Inc. v. Ningbo Sunny Elec. Co., 20 F.4th
        466, 482 n.1 (9th Cir. 2021). SSNIP analyses are relevant to
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 30 of 91
        30                  EPIC GAMES, INC. V. APPLE, INC.


        both Clayton Act merger challenges and Sherman Act
        restraint-of-trade or monopolization cases. See id. (Sherman
        Act section 2 monopolization claim); Saint Alphonsus Med.
        Ctr.-Nampa Inc. v. St. Luke’s Health Sys., Ltd., 778 F.3d
        775, 783 (9th Cir. 2015) (Clayton Act section 7 merger
        challenge). 7
            Courts also consider several “practical indicia” that the
        Supreme Court highlighted in Brown Shoe: “[1] industry or
        public recognition of the [market] as a separate economic
        entity, [2] the product’s peculiar characteristics and uses, [3]
        unique production facilities, [4] distinct customers, [5]
        distinct prices, [6] sensitivity to price changes, and [7]
        specialized vendors.” Brown Shoe, 370 U.S. at 325; Olin
        Corp. v. FTC, 986 F.2d 1295, 1299 (9th Cir. 1993) (invoking
        Brown Shoe indicia); see also Areeda & Hovenkamp,
        Antitrust Law, supra, ⁋ 533 (describing these indicia as
        having “evidentiary usefulness” in determining cross-
        elasticity of demand).
             B. Single-Brand Aftermarkets
           “[I]n some instances one brand of a product can
        constitute a separate market.” Eastman Kodak Co. v. Image
        Tech. Servs., Inc., 504 U.S. 451, 482 (1992); see also Newcal
        Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1048 (9th Cir.

        7
          Thus, to the extent the district court held that a SSNIP analysis applies
        only to merger challenges, it erred. However, because Sherman Act
        cases may involve markets in which a defendant has substantial market
        power or monopoly power (and has already exercised that power to
        charge a supracompetitive price), a SSNIP analysis in such cases “must
        not be used uncritically, and alternative indicia of market power should
        be explored.” Areeda & Hovenkamp, Antitrust Law, supra, ⁋ 539.
        Otherwise, a court may risk a false negative: over-defining a market and
        finding no market power where, in fact, it does exist.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 31 of 91
                         EPIC GAMES, INC. V. APPLE, INC.            31


        2008) (“[T]he law permits an antitrust claimant to restrict the
        relevant market to a single brand of the product at issue[.]”).
        More specifically, the relevant market for antitrust purposes
        can be an aftermarket—where demand for a good is entirely
        dependent on the prior purchase of a durable good in a
        foremarket.
            In Kodak, the Supreme Court considered the question of
        whether a lack of market power in the foremarket
        (photocopier machines, generally) categorically precludes a
        finding of market power in the aftermarket (replacement
        parts for and servicing of Kodak-brand photocopiers), which
        Kodak had allegedly achieved by contractually limiting
        customers to Kodak-provided parts and services. 504 U.S.
        at 455, 466. The Supreme Court rejected Kodak’s invitation
        to impose an across-the-board rule because it was not
        convinced that the rule—which “rest[ed] on a factual
        assumption about the cross-elasticity of demand” in
        aftermarkets—would always hold true. Id. at 470. The
        Supreme Court thus folded aftermarkets into the framework
        for assessing markets generally, evaluating cross-elasticity
        of demand to determine whether a hypothetical monopolist
        could profitably charge a supracompetitive price. See id. at
        469 (“The extent to which one market prevents exploitation
        of another market depends on the extent to which consumers
        will change their consumption of one product to a price
        change in another, i.e., the ‘cross-elasticity of demand.’”
        (quoting Du Pont, 351 U.S. at 400)).
            Explaining its skepticism of the factual assumption
        underlying Kodak’s proposed categorical rule, the Court
        reasoned that “significant” (1) information costs and (2)
        switching costs “could create a less responsive connection
        between aftermarket prices and [foremarket] sales,”
        particularly where the percentage of “sophisticated
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 32 of 91
        32              EPIC GAMES, INC. V. APPLE, INC.


        purchasers” able to accurately life-cycle price is low. Id. at
        473, 475; see also id. 477 n.24 (a “crucial” element is that
        the aftermarket restrictions were not “generally known” by
        foremarket consumers). That is, these conditions might
        “lock-in” unknowing customers such that competition in the
        foremarket cannot “discipline [competition in] the
        aftermarkets,” meaning a hypothetical monopolist could
        price its aftermarket products at a supracompetitive level
        without a substantial number of customers substituting to
        other products. Id. at 486; see also Von Kalinowski et al.,
        supra, § 24.02[5] (Kodak single-brand aftermarket requires
        “high switching costs,” “high information costs,” and
        “substantial” ability to “exploit ‘ignorant’ consumers”).
        Whether a plaintiff has proven such a lock-in must be
        resolved “on a case-by-case basis, focusing on the ‘particular
        facts disclosed by the record.’” Kodak, 504 U.S. at 467
        (quoting Maple Flooring Mfrs. Ass’n v. United States, 268
        U.S. 563, 579 (1925)).
            In Newcal, we considered how to square Kodak with our
        prior holding in Forsyth that contractual obligations are
        generally “not a cognizable source of market power.”
        Newcal, 513 F.3d at 1047 (citing Forsyth v. Humana, Inc.,
        114 F.3d 1467 (9th Cir. 2017)). We reasoned that the
        “critical distinction” between Kodak, on the one hand, and
        Forsyth, on the other, is that “the Kodak customers did not
        knowingly enter a contract that gave Kodak the exclusive
        right to prove parts and services for the life of the
        equipment.” Id. at 1048. Put otherwise, the “simple
        purchase of a Kodak-brand equipment” was not
        “functionally equivalent to the signing of a contractual
        agreement” limiting aftermarket choices. Id.; see also id. at
        1049 (“[T]he law permits an inquiry into whether a
        consumer’s selection of a particular brand in the competitive
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 33 of 91
                         EPIC GAMES, INC. V. APPLE, INC.             33


        market is the functional equivalent of a contractual
        commitment, giving that brand an agreed-upon right to
        monopolize its consumers in an aftermarket.”). Kodak thus
        differed markedly from Forsyth, which involved medical-
        insurance policyholders who entered into insurance
        contracts with Humana knowing that certain hospitals would
        carry higher deductibles and co-payments than others. See
        id. at 1048–49.
            Our knowledge-based distinction in Newcal flowed
        directly from the Supreme Court’s emphasis in Kodak on a
        defendant’s ability to use not “generally known” aftermarket
        restrictions to exploit unsophisticated consumers. Kodak,
        504 U.S. at 477 n.24. And, as in Kodak, we made sure to
        emphasize that the aftermarkets inquiry does not end as soon
        as a plaintiff checks the Kodak-based boxes related to
        consumer knowledge, information costs, and switching
        costs. “Even when a submarket is an Eastman Kodak
        market, though, it must bear the ‘practical indicia’ of an
        independent economic entity in order to qualify as a
        cognizable submarket under Brown Shoe.” Newcal, 513
        F.3d at 1051.
            In sum, to establish a single-brand aftermarket, a plaintiff
        must show: (1) the challenged aftermarket restrictions are
        “not generally known” when consumers make their
        foremarket purchase; (2) “significant” information costs
        prevent accurate life-cycle pricing; (3) “significant”
        monetary or non-monetary switching costs exist; and (4)
        general market-definition principles regarding cross-
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 34 of 91
        34                  EPIC GAMES, INC. V. APPLE, INC.


        elasticity of demand do not undermine the proposed single-
        brand market. 8
             C. Standard of Review
            “We review relevant market definitions as fact findings
        reversible only if the evidence compels a conclusion
        contrary to the [factfinder’s] verdict.” Optronic, 20 F.4th at
        482; see also Saint Alphonsus, 778 F.3d at 784 (finding “no
        clear error” in the district court’s market definition). Where
        a plaintiff asserts a Kodak-style single-brand aftermarket, it
        bears the burden of “rebut[ting] the economic presumption
        that . . . consumers make a knowing choice to restrict their
        aftermarket options when they decide in the initial
        (competitive) market to enter a[] . . . contract.” Newcal, 513
        F.3d at 1050.
             D. Epic’s Legal Challenges
             With these principles in mind, we now turn to Epic’s
        arguments that the district court committed legal error when
        it (1) held a market can never be defined around a product
        that the defendant does not license or sell, (2) required lack
        of consumer awareness to establish a Kodak-style market,
        (3) purportedly required a change in policy to establish a
        Kodak-style market, and (4) required Epic to establish the
        “magnitude” of switching costs. We agree with Epic on its
        first argument and, to the extent the district court did impose

        8
          Epic and the district court interpret Newcal to impose a different four-
        part test. In doing so, they mistakenly rely on a portion of Newcal where
        we determined that the specific complaint before us plausibly alleged
        lack of consumer awareness such that it fell on the Kodak side of the
        Kodak/Forsyth divide. See Newcal, 513 F.3d at 1049 (“In determining
        whether this case is more like . . . Forsyth or more like Eastman Kodak,
        there are four relevant aspects of the complaint.”).
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 35 of 91
                            EPIC GAMES, INC. V. APPLE, INC.                      35


        a change-in-policy requirement, Epic’s third argument. But
        we reject Epic’s second and fourth arguments as squarely
        foreclosed by Kodak and Newcal. 9
                 1. Unlicensed or Unsold Product Markets
            First, the district court erred by imposing a categorical
        rule that an antitrust market can never relate to a product that
        is not licensed or sold—here smartphone operating systems.
        To begin, this categorical rule flouts the Supreme Court’s
        instruction that courts should conduct market-definition
        inquiries based not on “formalistic distinctions” but on
        “actual market realities.” Amex, 138 S. Ct. at 2285 (quoting
        Kodak, 504 U.S. at 466–67).
            Moreover, the district court’s rule is difficult to square
        with decisions defining a product market to include
        vertically integrated firms that self-provision the relevant
        product but make no outside sales. For example, the D.C.
        Circuit in Microsoft noted that “Apple had a not insignificant
        share of worldwide sales of operating systems,” even though
        Apple did not sell or license macOS but instead only
        included it in its own Mac computers. United States v.

        9
          We also reject Apple’s suggestion that Epic’s antitrust claims should
        have automatically failed as soon as the district court adopted a market
        of mobile-game transactions, instead of Epic’s proposed aftermarkets.
        None of the authorities Apple cites comes anywhere close to supporting
        its radical argument that, where parties offer dueling market definitions,
        the case immediately ends if the district court finds the record supports
        the defendant’s proposed market (or a third in-between market, as was
        the case here) rather than the plaintiff’s market. Instead, our precedent
        squarely forecloses such an argument. See Rebel Oil, 51 F.3d at 1421
        (rejecting the plaintiff’s proposed market but stating that such a rejection
        was “not fatal” to its claim, and remanding to determine whether the
        defendant possessed market power in the defendant-proposed market
        that the court adopted).
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 36 of 91
        36                 EPIC GAMES, INC. V. APPLE, INC.


        Microsoft Corp., 253 F.3d 34, 73 (D.C. Cir. 2001). While
        the Microsoft court ultimately excluded macOS from its
        market, it did so on fact-bound substitutability grounds, not
        the categorical grounds that the district court used here. Id.
        at 52.
            Finally, the district court’s rule overlooks that there may
        be markets where companies offer a product to one side of
        the market for free but profit in other ways, such as by
        collecting consumer data or generating ad revenue. See, e.g.,
        FTC v. Facebook, Inc., 581 F. Supp. 3d 34, 44–45, 55
        (D.D.C. 2022) (finding FTC plausibly alleged a market of
        personal social networks even though “all [are] provided free
        of charge” to users). It puts form over substance to say that
        such products cannot form a market because they are not
        directly licensed or sold.
                 2. Lack of Consumer Knowledge
            Second, the district court did not err when it required
        Epic to produce evidence regarding a lack of consumer
        knowledge of Apple’s app-distribution and IAP restrictions.
        Such a requirement comes directly from Kodak and Newcal.
        The former stated that it is “crucial” that aftermarket
        restrictions are not “generally known.” Kodak, 504 U.S. at
        477 n.24. The latter placed the burden on a plaintiff to “rebut
        the economic presumption that . . . consumers make a
        knowing choice to restrict their aftermarket options” when
        they make a foremarket purchase. Newcal, 513 F.3d at
        1050. 10

        10
          As Epic correctly notes in its opening brief, Kodak does not impose a
        requirement that a plaintiff show “complete ignorance” of a defendant’s
        aftermarket restrictions; it need only show that the restrictions are not
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 37 of 91
                         EPIC GAMES, INC. V. APPLE, INC.               37


                3. Change in Policy
            Third, Epic argues that the district court erred by holding
        that a plaintiff can establish a Kodak-style aftermarket only
        if it shows that the defendant adopted its aftermarket
        restrictions after some portion of consumers purchased their
        foremarket durable goods. Had the district court actually
        imposed such an absolute change-in-policy requirement, it
        would have erred. As explained above, Kodak and Newcal
        require a showing of a lack of consumer awareness regarding
        aftermarket restrictions. Newcal, 513 F.3d at 1050. A
        change in policy is of course one way of doing so; a
        consumer cannot knowingly agree to a restriction that did
        not exist at the time of the foremarket transaction. But it is
        not the exclusive means of doing so. Indeed, Kodak itself
        contemplated that some sophisticated, high-volume
        consumers would be able to accurately life-cycle price goods
        in the foremarket. Kodak, 504 U.S. at 476. Such life-cycle
        pricing would be impossible if those consumers were
        unaware that they would be restricted to certain vendors in
        the aftermarket.
            But contrary to Epic’s assertion, we do not read the
        district court’s order as running counter to these principles.
        The district court explained that “other circuits have aligned
        with the contours of Newcal . . . regarding knowledge and/or
        post-purchase policy changes” and that the “breadth of
        antitrust law” requires that a restriction “must not have been
        sufficiently disclosed to consumers.” It then quoted the
        operative language from Newcal that focuses on lack of


        “generally known.” Kodak, 504 U.S. at 477 n.24. We need not decide
        what amounts to “general[]” unawareness because Epic presented no
        evidence of consumer unawareness. See infra section I.E.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 38 of 91
        38                 EPIC GAMES, INC. V. APPLE, INC.


        knowledge, not the necessity of a policy change. Finally, it
        examined the record to find neither a change in policy nor
        proof that iOS device purchasers are unaware of the
        distribution and IAP restrictions. See infra section I.E. The
        district court appropriately treated a change in policy as one,
        but not the exclusive, way of establishing Kodak and
        Newcal’s general-lack-of-knowledge requirement.
                4. Significant Switching Costs
            Fourth, the district court did not err when it required Epic
        to produce evidence about the magnitude of switching costs.
        Kodak explicitly requires that switching costs—whether
        monetary or non-monetary—be “significant.” Kodak, 504
        U.S at 473. This showing need not be extensive; among
        other things, a plaintiff can point to the “heavy initial outlay”
        of the foremarket good and brand-specific purchases. Id. at
        477. By requiring such a showing, the district court was
        simply fulfilling its Kodak obligation of ensuring that
        switching costs are “significant.” 11
             E. Epic’s Clear-Error Challenge
             We now turn to the main thrust of Epic’s market-
        definition argument: that it is entitled, as a factual matter, to
        a finding in favor of its proposed aftermarkets. Though Epic
        attempts to avoid the clear-error label, its argument requires
        it to carry the heavy of burden on appeal of showing that the
        district court clearly erred in finding that (1) Epic failed to
        show a lack of general consumer awareness regarding
        Apple’s restrictions on iOS distribution and payment
        processing, (2) Epic failed to show significant switching

        11
          As explained in the following section, we express no view on whether
        the district court erred when applying this significance requirement to
        Epic’s proffered evidence regarding switching costs.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 39 of 91
                           EPIC GAMES, INC. V. APPLE, INC.                    39


        costs, and (3) the empirical evidence in the record and the
        Brown Shoe practical indicia support a market of mobile-
        game transactions, not Epic’s iOS-specific aftermarkets. 12
            Beginning with the first prong, Epic had the burden of
        showing a lack of consumer awareness—whether through a
        change in policy or otherwise. Epic identified a purported
        change in policy, contrasting the App Store’s now-immense
        profitability with a pre-launch statement from Steve Jobs
        that Apple did not “intend to make money off the App
        Store[’s]” 30% commission. The district court reasonably
        found this statement to simply reflect Jobs’s “initial
        expectation” about the App Store’s performance, not an
        announcement of Apple policy. Especially in light of the
        district court’s finding that Apple has “maintained the same
        general rules” for distribution and payment processing since
        the App Store’s early days, it did not clearly err in
        concluding that Epic failed to prove a lack of consumer
        awareness through a change of policy.
            Nor did the district court clearly err in finding that Epic
        otherwise failed to establish a lack of awareness. Indeed, the
        district court squarely found: “[T]here is no evidence in the
        record demonstrating that consumers are unaware that the
        App Store is the sole means of digital distribution on the iOS
        platform” (emphasis added). And on appeal, Epic fails to
        cite any evidence that would undermine the district court’s
        characterization of the record.
           Because of this failure of proof on the first prong of
        Epic’s Kodak/Newcal showing, we need not reach—and do

        12
          The district court did not rule against Epic on the remaining prong of
        the Kodak/Newcal test: the presence of significant information costs that
        make accurate life-cycle pricing difficult.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 40 of 91
        40               EPIC GAMES, INC. V. APPLE, INC.


        not express any view regarding—the other factual grounds
        on which the district court rejected Epic’s single-brand
        markets: (1) that Epic did not show significant switching
        costs, and (2) that empirical evidence and the Brown Shoe
        factors rebut Epic’s proposed aftermarkets.
             Moreover,      the    district  court’s    finding    on
        Kodak/Newcal’s         consumer-unawareness       requirement
        renders harmless its rejection of Epic’s proposed
        aftermarkets on the legally erroneous basis that Apple does
        not license or sell iOS as a standalone product. See supra
        section I.D.1. To establish its single-brand aftermarkets,
        Epic bore the burden of “rebut[ting] the economic
        presumption that . . . consumers make a knowing choice to
        restrict their aftermarket options when they decide in the
        initial (competitive) market to enter a[] . . . contract.”
        Newcal, 513 F.3d at 1050. Yet the district court found that
        there was “no evidence in the record” that could support such
        a showing. As a result, Epic cannot establish its proposed
        aftermarkets on the record before our court—even after the
        district court’s erroneous reasoning is corrected.
            In his partial dissent, our colleague, Judge Thomas,
        disagrees with our conclusion that the error discussed in
        section I.D.1 is harmless. First, Judge Thomas contends that
        we lack any “direct authority for [this] proposition.” While
        we do not have a Kodak-specific case to cite, treating an
        error as harmless in light of an independent and sufficient
        alternative finding is standard fare in appellate courts. See,
        e.g., United States v. Wright, 46 F.4th 938, 944 (9th Cir.
        2022) (“[The district court’s . . . error was harmless in light
        of its alternative holding . . . .” (capitalization
        standardized)); Tommasetti v. Astrue, 533 F.3d 1035, 1042
        (9th Cir. 2008) (“Although the ALJ’s step four
        determination constitutes error, it is harmless error in light
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 41 of 91
                         EPIC GAMES, INC. V. APPLE, INC.             41


        of the ALJ’s alternative finding at step five.”); United States
        v. Koenig, 912 F.2d 1190, 1190 (9th Cir. 1990) (“We agree
        [with the appellant’s assertion of error], but conclude that the
        district court made alternative rulings that render any
        error harmless.”). Second, and relatedly, Judge Thomas
        argues that our harmless-error conclusion runs counter to
        precedent instructing that, outside of certain exceptions,
        “courts usually cannot apply the rule of reason without an
        accurate definition of the relevant market.” Amex, 138 S. Ct.
        at 2285. But that argument misconstrues the effect of the
        district court’s finding on the consumer-unawareness prong.
        If, as Judge Thomas requests, we were to just correct the
        district court’s erroneous reasoning and then remand, the
        district court’s market definition on remand would be
        foreordained. Given the total lack of evidence on consumer-
        unawareness, Epic cannot establish its proposed
        aftermarkets. So, contrary to the partial dissent’s assertion,
        we do not proceed to apply the Sherman Act’s liability
        standards without first defining a relevant market. Epic’s
        proposed aftermarkets fail, and Apple did not cross-appeal
        the district court’s rejection of its proposed market. The
        district court’s middle-ground market of mobile-games
        transaction thus stands on appeal, and it is that market in
        which we assess whether Apple’s conduct is unlawful
        pursuant to the Sherman Act.
        II.    Sherman Act Section 1: Unreasonable Restraint
            With the relevant market for Epic’s antitrust claims
        established (mobile-game transactions), we turn to the
        district court’s rejection of Epic’s Sherman Act Section 1
        restraint-of-trade claim. Section 1 prohibits “[e]very
        contract, combination . . . , or conspiracy, in restraint of
        trade.” 15 U.S.C. § 1. Courts have long read Section 1 to
        “outlaw only unreasonable restraints.” Amex, 138 S. Ct. at
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 42 of 91
        42               EPIC GAMES, INC. V. APPLE, INC.


        2283 (quoting State Oil v. Khan, 522 U.S. 3, 10 (1997)).
        Thus, a Section 1 inquiry has both a threshold component
        (whether there is a contract, combination, or conspiracy) and
        a merits component (whether it is unreasonable).
        Qualcomm, 969 F.3d at 988–89. While a restraint can be
        unreasonable per se or pursuant to the Rule of Reason, the
        parties agree that the latter standard applies here.
             Epic contends that the district court (1) incorrectly found
        that the DPLA was not a “contract[]” within the scope of
        Section 1, (2) misapplied steps two and three of the Rule of
        Reason, and (3) omitted a fourth balancing step after it found
        that Epic failed to satisfy its step-three burden. Apple
        asserts—as an alternative basis for affirming the district
        court’s denial of Sherman Act liability—that the court erred
        at step one of the Rule of Reason. We agree with Epic on its
        first and third arguments but find the errors to be harmless;
        we reject Epic’s and Apple’s remaining arguments.
             A. Existence of a Contract
            The district court erred when it held that a non-
        negotiated contract of adhesion like the DPLA falls outside
        of the scope of Section 1. That holding plainly contradicts
        Section 1’s text, which reaches “[e]very contract,
        combination . . . , or conspiracy” that unreasonably restrains
        trade. 15 U.S.C. § 1 (emphasis added). To hold that a
        contract is exempt from antitrust scrutiny simply because
        one party “reluctant[ly]” accepted its terms “would be to
        read the word[] ‘contract’” out of the statute. Systemcare,
        Inc. v. Wang Lab’ys Corp., 117 F.3d 1137, 1143 (10th Cir.
        1997).
            Moreover, the district court’s contract-of-adhesion
        exemption is difficult to square with numerous antitrust
        cases involving agreements in which one party set terms and
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 43 of 91
                         EPIC GAMES, INC. V. APPLE, INC.            43


        the other party reluctantly acquiesced. See, e.g., Amex, 138
        S. ct. at 2282 (“Amex’s business model sometimes causes
        friction with merchants”); Perma Life Mufflers, Inc. v. Int’l
        Parts Corp., 392 U.S. 134, 142 (1968) (the plaintiff
        “unwillingly complied with the restrictive . . . agreements”),
        overruled on other grounds by Copperweld, 467 U.S. 752;
        Barry v. Blue Cross of Cal., 805 F.2d 866, 869 (9th Cir.
        1986) (contract “terms and structure were made by” the
        defendant). Given the number of cases in which the district
        court’s exemption would have been decisive, it is telling that
        the dog never barked.
            Additionally, as the district court itself recognized, its
        holding is “not particularly consistent” with ties being
        cognizable pursuant to Section 1. In a classic tie, the
        defendant “exploit[s] . . . its control over the tying product
        to force the buyer into the purchase of a tied product that the
        buyer either did not want at all, or might have preferred to
        purchase elsewhere on different terms.” Jefferson Par.
        Hosp. Dist. No. 2 v. Hyde, 466 U.S. 2, 12 (1984), overruled
        on other grounds by Ill. Tool Works Inc. v. Indep. Ink, Inc.,
        547 U.S. 28 (2006). “If such conduct were to be labelled
        ‘independent,’ virtually all tying arrangements would be
        beyond the reach of Section 1.” Image Tech. Serv., Inc. v.
        Eastman Kodak Co., 903 F.2d 612, 619 (9th Cir. 1990).
            Moreover, Section 1 is primarily concerned with firms
        that exercise market power—i.e., the “special ability . . . to
        force a [a contracting partner] to do something that he would
        not do in a competitive market.” Jefferson Parish, 466 U.S.
        at 13–14. The district court’s rule would preclude Section 1
        suits and illegality defenses to breach of contract claims
        where they are most needed: when dealing with restraints
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 44 of 91
        44                  EPIC GAMES, INC. V. APPLE, INC.


        imposed by firms that have market power but lack the
        monopoly power that triggers Section 2 scrutiny. 13
           Thus, the district court erred on this threshold issue. But
        because the court, in the alternative, properly applied the
        Rule of Reason, its error was harmless.
             B. Rule of Reason Step One: Anticompetitive Effects
            The district court did not err when it found that Epic
        made the Rule of Reason’s required step-one showing. At
        step one, “the plaintiff has the initial burden to prove that the
        challenged restraint has a substantial anticompetitive effect
        that harms consumers in the relevant market.” Amex, 138 S.
        Ct. at 2284. Antitrust plaintiffs can make their step-one
        showing either “directly or indirectly.”            Id.; accord
        PLS.Com, LLC v. Nat’l Ass’n of Realtors, 32 F.4th 824, 834
        (9th Cir. 2022); Aya Healthcare Servs., Inc. v. AMN
        Healthcare, Inc., 9 F.4th 1102, 1112 (9th Cir. 2021); Rebel
        Oil., 51 F.3d at 1434.



        13
            The decisions that the district court relied on are readily
        distinguishable. An express agreement is “direct evidence of ‘concerted
        activity.’” Paladin Assocs., Inc. v. Mont. Power Co., 328 F.3d 1145,
        1153 (9th Cir. 2003). But the district court relied exclusively on cases
        in which there was no direct evidence of concerted activity and a plaintiff
        instead produced circumstantial evidence to show that the defendants
        were acting in concert. See, e.g., Monsanto Co. v. Spray-Rite Serv.
        Corp., 465 U.S. 752 (1984). Where a plaintiff puts forward only
        circumstantial evidence, courts must conduct a searching inquiry, lest
        they mistake parallel conduct (which is legal) for concerted activity
        (which is subject to Section 1 scrutiny). Id. at 768; see In re Musical
        Instruments & Equip. Antitrust Litig., 798 F.3d 1186, 1193–94 (9th Cir.
        2015). Where there is an express contract, that concern is simply not
        present.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 45 of 91
                         EPIC GAMES, INC. V. APPLE, INC.            45


            “To prove a substantial anticompetitive effect directly,
        the plaintiff must provide ‘proof of actual detrimental effects
        [on competition],’ such as reduced output, increased prices,
        or decreased quality in the relevant market.” PLS.Com, 32
        F.4th at 834 (emphasis added) (quoting Amex, 138 S. Ct. at
        2284). Importantly, showing a reduction in output is one
        form of direct evidence, but it “is not the only measure.”
        O’Bannon v. NCAA, 802 F.3d 1049, 1070 (2015) (emphasis
        removed) (quoting Areeda & Hovenkamp, Antitrust Law,
        supra, ⁋ 1503b(1)).
            To prove substantial anticompetitive effects indirectly,
        the plaintiff must prove that the defendant has market power
        and present “some evidence that the challenged restraint
        harms competition.” Amex, 138 S. Ct. at 2284. Market
        power is the ability for a defendant to profitably raise prices
        by restricting output. Id. at 2288; see also Jefferson Parish,
        466 U.S. at 13–14 (market power is the ability “to force a
        purchaser to do something that he would not do in a
        competitive market”). In other words, a firm with market
        power is a price-maker, not the price-takers that economic
        theory expects in a competitive market. Pursuant to this
        indirect-evidence route, “[t]he existence of market power is
        a significant finding that casts an anticompetitive shadow
        over a party’s practices in a rule-of-reason case.” Hahn v.
        Or. Physicians’ Serv., 868 F.2d 1022, 1026 (9th Cir. 1988).
            Market power is generally inferred from the defendant’s
        possession of a high market share and the existence of
        “significant barriers to entry.” Rebel Oil, 51 F.3d at 1434.
        Whether a defendant possesses market power is a factual
        question that we review for clear error. Cf. L.A. Land Co. v.
        Brunswick Corp., 6 F.3d 1422, 1425 (9th Cir. 1993)
        (possession of monopoly power is a fact question).
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 46 of 91
        46               EPIC GAMES, INC. V. APPLE, INC.


            A plaintiff must also present “some evidence” that the
        defendant uses that market power to harm competition.
        Amex, 138 S. Ct. at 2284; see also Aya Healthcare, 9 F.4th
        at 1113 (citing Tops Mkts., Inc. v. Quality Mkts., Inc., 142
        F.3d 90, 97 (2d Cir. 1998), for the proposition that “market
        power alone does not suffice as indirect evidence for a rule-
        of-reason analysis”). This inquiry need not always be
        extensive or highly technical. It is sufficient that the plaintiff
        prove the defendant’s conduct, as matter of economic theory,
        harms competition—for example that it increases barriers to
        entry or reduces consumer choice by excluding would-be
        competitors that would offer differentiated products. See N.
        Am. Soccer League, LLC v. U.S. Soccer Fed’n Inc., 883 F.3d
        32, 42 (2d Cir. 2018).
            Here, the district concluded that Epic produced both
        sufficient direct and indirect evidence to show that Apple’s
        distribution and IAP restrictions impose substantial
        anticompetitive effects. In terms of direct evidence, the
        court found that Apple has for years extracted a
        supracompetitive commission that was set “almost by
        accident” and “without regard” to its own costs and has
        produced “extraordinarily high” operating margins that
        “have exceeded 75% for years.” The court found that “the
        economic factors driving” other platforms’ rates “do not
        apply equally to Apple,” with “nothing other than legal
        action seem[ing] to motivate Apple to reconsider pricing and
        reduce rates.” With respect to indirect evidence, the district
        court found that Apple has market power: Apple had a
        mobile-games market share of 52 to 57% for the three years
        in evidence, and network effects and information restrictions
        create barriers to entry. The court found that Apple wielded
        that market power to foreclose would-be competitors like
        Epic from offering app-distribution and payment-processing
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 47 of 91
                            EPIC GAMES, INC. V. APPLE, INC.                     47


        alternatives—reducing innovation and Apple’s                         own
        investment in the App Store in the process.
                 1. Direct Evidence
            Apple challenges both the district court’s direct- and
        indirect-evidence conclusions on several grounds—some
        legal, some factual. We are not persuaded that the district
        court erred at step one of the Rule of Reason. 14
            First, Apple argues that the district court’s direct-
        evidence conclusion cannot stand because Epic did not show
        that Apple’s restrictions reduced output. We squarely
        rejected this argument in O’Bannon. There, the NCAA
        similarly argued that liability was foreclosed because output
        in the relevant market “increased steadily over time.” 802
        F.3d at 1070. “Although output reductions are one common
        kind of anticompetitive effect in antitrust cases, a ‘reduction
        in output is not the only measure of anticompetitive effect.’”
        Id. (citation omitted). Nor does Amex displace our holding
        in O’Bannon. A showing of decreased output was essential
        in that case because the plaintiff “failed to offer any reliable
        measure of Amex’s transaction price or profit margins” and
        “the evidence about whether Amex charges more than its
        competitors was ultimately inconclusive.” Amex, 138 S. Ct.
        at 2288.



        14
          We also reject Apple’s threshold argument that the district court erred
        by not isolating the effects of Apple’s unilateral product-design decisions
        from the effects of the contractual restrictions that are properly within
        the scope of Section 1. This argument runs counter to the record. When
        conducting its Rule of Reason analysis, the district court noted that Epic
        “appear[ed] to disclaim any challenge to Apple’s code signing
        restrictions,” so the court “consider[ed] only the DPLA restrictions.”
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 48 of 91
        48               EPIC GAMES, INC. V. APPLE, INC.


            Second, Apple argues that Epic’s evidence of
        supracompetitive pricing fails as a matter of law because
        Apple never raised its commission. A supracompetitive
        price is simply a “price[] above competitive levels.” Rebel
        Oil, 51 F.3d at 1434. Apple cites no binding precedent in
        support of its proposition that the charging of a
        supracompetitive price must always entail a price increase,
        though we recognize that it ordinarily does.
            Third, Apple attacks the supracompetitive-pricing
        finding on factual grounds by asserting that Apple charges a
        substantially similar commission as its competitors. That
        assertion is true as far as headline rates go, but the district
        court reasonably based its supracompetitive-price finding on
        effective commission rates instead of headline rates. The
        district court found Apple’s reliance on headline rates to be
        “suspect” because, unlike the App Store, other platforms
        “frequently negotiate[] down” the rates they charge
        developers. The court noted that Amazon has a headline rate
        of 30% but an effective commission rate of 18%. And it
        credited testimony that game-console transaction platforms
        often “negotiate special deals for large developers.” While
        the district court’s finding that the Google Play Store (the
        App Store’s “main competitor”) charges a 30% rate
        seemingly undermines the characterization of Apple’s
        commission as supracompetitive, we cannot say that the
        district court clearly erred absent evidence about the Google
        Play Store’s effective commission—the metric that the
        district court at trial found to be the key to determining the
        competitiveness of a price in this market.
            Fourth, Apple argues that the district court’s direct-
        evidence finding fails as a matter of law because Amex
        requires Epic to establish anticompetitive effects on both
        sides of the two-sided market for mobile-game transactions
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 49 of 91
                        EPIC GAMES, INC. V. APPLE, INC.            49


        (developers and users). Apple’s argument falls short both
        legally and factually. We have previously held: “Amex does
        not require a plaintiff to [show] harm to participants on both
        sides of the market. All Amex held is that to establish that a
        practice is anticompetitive in certain two-sided markets, the
        plaintiff must establish an anticompetitive impact on the
        ‘market as a whole.’” PLS.com, 32 F.4th at 839 (quoting
        Amex, 138 S. Ct. at 2287). In any event, the district court
        found that, while Apple’s restrictions “certainly impact
        developers,” there was “some evidence” that the restrictions
        also “impact[] consumers when those costs are passed on.”
               2. Indirect Evidence
              We are not persuaded by Apple’s argument that the
        district court erred in concluding that Epic established
        indirect evidence of anticompetitive effects. Apple does not
        take issue with the district court’s finding of a 52 to 55%
        market share (other than noting it was the court’s “own
        . . . calculation”); nor does Apple challenge the court’s
        barriers-to-entry finding. It instead argues that the finding
        that Apple wields its market power in an anticompetitive
        manner is speculative. But, supported by basic economic
        presumptions, the district court reasonably found that,
        without Apple’s restrictions, would-be competitors could
        offer iOS users alternatives that would differentiate
        themselves from the App Store on price as well as consumer-
        appeal features like searchability, security, privacy, and
        payment processing. Indeed, it found competition in the PC-
        gaming market to be a “vivid illustration”: Steam had long
        charged a 30% commission, but upon Epic’s entry into the
        market, it lowered its commission to 20%. Epic’s indirect-
        evidence showing was sufficient. See N. Am. Soccer
        League, 883 F.3d at 42 (market power combined with a
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 50 of 91
        50               EPIC GAMES, INC. V. APPLE, INC.


        restriction that “reduce[s] consumer choice” satisfies step
        one).
             C. Step Two: Procompetitive Rationales
            The district court correctly held that Apple offered non-
        pretextual, legally cognizable procompetitive rationales for
        its app-distribution and IAP restrictions. If a plaintiff
        establishes at step one that the defendant’s restraints impose
        substantial anticompetitive effects, then the burden shifts
        back to the defendant to “show a procompetitive rationale
        for the restraint[s].” NCAA v. Alston, 141 S. Ct. 2141, 2160
        (2021) (quoting Amex, 138 S. C.t at 2284). A procompetitive
        rationale is “a [1] nonpretextual claim that [the defendant’s]
        conduct is [2] indeed a form of competition on the merits
        because it involves, for example, greater efficiency or
        enhanced consumer appeal.” Qualcomm, 969 F.3d at 991.
            Here, the district court accepted two sets of rationales as
        non-pretextual and legally cognizable. First, it found that
        Apple implemented the restrictions to improve device
        security and user privacy—thereby enhancing consumer
        appeal and differentiating iOS devices and the App Store
        from those products’ respective competitors. Second, the
        court partially accepted Apple’s argument that it
        implemented the restrictions to be compensated for its IP
        investment. While the court credited the IP-compensation
        rationale generally, it rejected the rationale “with respect to
        the 30% commission rate specifically.” On appeal, Epic
        raises three arguments challenging Apple’s rationales as
        legally non-cognizable.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 51 of 91
                         EPIC GAMES, INC. V. APPLE, INC.              51


                1. Partial Acceptance     of               Apple’s   IP-
                   Compensation Rationale
              Epic argues that the district court may not credit Apple’s
        IP-compensation rationale while finding that the rationale
        was pretextual “with respect to the 30% commission rate
        specifically” (emphasis added). We have held that IP-
        compensation is a cognizable procompetitive rationale,
        Kodak, 125 F.3d at 1219 (“desire to profit from
        . . . intellectual property” is presumptively procompetitive),
        and we find no error in the district court’s partial crediting
        of that rationale here.
            The district court’s acceptance of the rationale generally,
        while rejecting a specific application of it, resembles the
        district court’s analysis in the NCAA litigation that
        culminated in Alston, 141 S. Ct. 2141. There, the district
        court credited the NCAA’s amateurism-as-consumer-appeal
        rationale but found that the NCAA’s “rules and restrictions
        on [amateurism] ha[d] shifted markedly over time,” that the
        NCAA adopted some restrictions “without any reference to
        considerations of consumer demand,” and that some were
        “not necessary to consumer demand.” Id. at 2163. The court
        did not, as Epic requests here, resolve the case at step two
        and hold that the NCAA’s shaky proof meant it lacked any
        procompetitive rationale. Instead, the “deficiencies in the
        NCAA’s proof of procompetitive benefits at the second step
        influenced the analysis at the third [step].” Id. at 2162.
        Because the NCAA’s amateurism-as-consumer-appeal
        rationale was nebulously defined and weakly substantiated,
        the plaintiffs had more flexibility at step three to fashion less
        restrictive alternatives.
           The same is true here. Because the district court
        accepted only a general version of Apple’s IP-compensation
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 52 of 91
        52              EPIC GAMES, INC. V. APPLE, INC.


        rationale (that Apple was entitled to “some compensation”),
        Epic at step three needed only to fashion a less-restrictive
        alternative calibrated to achieving that general goal, instead
        of one achieving the level of compensation that Apple
        currently achieves through its 30% commission. There is no
        legal requirement—as Epic suggests—that district courts
        make pretext findings on an all-or-nothing basis. When
        district courts at step two partially credit a rationale, step
        three will necessarily take that partial finding into account.
               2. Cognizability of Apple’s Privacy/Security
                  Rationales
            Epic and its amici next argue that Apple’s security and
        privacy rationales are social, not procompetitive, rationales
        and therefore fall outside the purview of antitrust law. We
        reject this argument.
            To begin, Epic waived this argument by failing to raise
        it below. See Friedman v. AARP, Inc., 855 F.3d 1047, 1057
        (9th Cir. 2017) (“Our general rule is that we do not consider
        an issue not passed upon below.”). In the parties’ pre-trial
        joint submission on elements and remedies, Epic agreed that
        “enhancing consumer appeal”—the goal of Apple’s security
        and privacy efforts—is a cognizable procompetitive
        justification. At trial, one of Epic’s experts conceded that
        “[p]rotecting iPhone users from security threats is a
        procompetitive benefit.” And Epic made no reference to
        cognizability in its proposed findings of fact and conclusions
        of law.
            Even setting aside Epic’s failure to raise this argument
        below, we are not persuaded by it. See Carrillo v. County of
        Los Angeles, 798 F.3d 1210, 1223 (9th Cir. 2015) (courts of
        appeal have discretion to address pure questions of law if
        doing so will not prejudice the opposing party). Epic’s
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 53 of 91
                        EPIC GAMES, INC. V. APPLE, INC.          53


        argument characterizes Apple as asserting security and
        privacy as independent justifications in and of themselves.
        But, throughout the record, Apple makes clear that by
        improving security and privacy features, it is tapping into
        consumer demand and differentiating its products from those
        of its competitors—goals that are plainly procompetitive
        rationales. See, e.g., Qualcomm, 969 F.3d at 991 (listing
        enhanced “consumer appeal” as a legitimate procompetitive
        rationale); O’Bannon, 802 F.3d at 1072–73 (considering the
        NCAA’s amateurism rationale that “plays a role in
        increasing consumer demand”). Consumer surveys in the
        record show that security and privacy is an important aspect
        of a device purchase for 50% to 62% of iPhone users and
        76% to 89% of iPad users worldwide. Even Epic’s CEO
        testified that he purchased an iPhone over an Android
        smartphone in part because it offers “better security and
        privacy.” And the district court found that, because Apple
        creates a “trusted app environment, users make greater use
        of their devices.”
            With Apple’s restrictions in place, users are free to
        decide which kind of app-transaction platform to use. Users
        who value security and privacy can select (by purchasing an
        iPhone) Apple’s closed platform and pay a marginally higher
        price for apps. Users who place a premium on low prices
        can (by purchasing an Android device) select one of the
        several open app-transaction platforms, which provide
        marginally less security and privacy. Apple’s restrictions
        create a heterogenous market for app-transaction platforms
        which, as a result, increases interbrand competition—the
        primary goal of antitrust law. See, e.g., Leegin Creative
        Leather Prod., Inc. v. PSKS, Inc., 551 U.S. 877, 895 (2007);
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 54 of 91
        54                 EPIC GAMES, INC. V. APPLE, INC.


        State Oil, 522 U.S. at 15. 15 Antitrust law assumes that
        competition best allocates resources by allowing firms to
        compete on “all elements of a bargain—quality, service,
        safety, and durability—and not just the immediate cost.”
        Nat’l Soc’y of Pro. Eng’rs v. United States, 435 U.S. 679,
        695 (1978). If we were to accept Epic and its amici’s
        argument, then no defendant could cite competing on non-
        price features as a procompetitive rationale.
            To avoid this conclusion, Epic and its amici rely on a line
        of cases stemming from National Society of Professional
        Engineers. But neither that case nor its progeny support
        their argument that improved quality is a social, rather than
        procompetitive, rationale.          Instead, the Professional
        Engineers line of cases holds that a defendant cannot
        severely limit interbrand competition on the theory that
        competition itself is ill-suited to a certain market or industry.
        See id. at 694–96. Epic’s selection of quotes from
        Professional Engineers and other cases—without
        acknowledging the distinct context in which they occurred—
        is unconvincing.
           In Professional Engineers, a professional association
        with about 12,000 engineers adopted a rule prohibiting its
        members from engaging in competitive bidding on

        15
           Epic argues that interbrand competition in the smartphone market is
        irrelevant because in the app-transactions market Epic is Apple’s would-
        be competitor—i.e., the DPLA prevents interbrand competition between
        the App Store and the Epic Games Store in the game-transactions
        market. But this was also true in Kodak: The independent service
        operators were would-be competitors of Kodak in the service market.
        Still, the Court entertained (while ultimately rejecting on factual
        grounds) Kodak’s procompetitive rationale that its service restrictions
        ensured high-quality products and thus promoted interbrand competition
        in the foremarket for photocopiers. Kodak, 504 U.S. at 482–84.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 55 of 91
                        EPIC GAMES, INC. V. APPLE, INC.           55


        construction projects. Id. at 681. This “absolute ban” on
        competitive bidding imposed substantial anticompetitive
        effects, and the Society’s sole justification was that
        competition in the construction-engineering market would
        lead engineers to perform “inferior work with consequent
        risk to safety and health.” Id. at 692–94. In other words,
        competition in the construction engineering industry was not
        in the “public benefit.” Id. The Supreme Court rejected this
        request for a judge-made exemption from the Rule of
        Reason, which “does not support a defense based on the
        assumption that competition itself is unreasonable,” and
        stated that the Society’s argument should be “addressed to
        Congress.” Id. at 696.
            Indiana Federation of Dentists likewise involved a
        request for an exemption from the Rule of Reason. There,
        an association of dentists, which had a nearly 100% market
        share in one area and a nearly 70% market share in another,
        adopted a rule prohibiting its members from submitting x-
        rays to dental insurers. Ind. Fed. of Dentists, 476 U.S. at
        448–49. The rule made it prohibitively expensive for
        insurers to impose cost-containment measures and thus
        eliminated interbrand competition regarding cooperation
        with patients’ insurers. Id. at 449. The Federation argued
        that competition would undermine “quality of care”—that,
        without the rule, consumers would make “unwise and even
        dangerous choices” regarding dental procedures. Id. at 463.
        The Supreme Court rejected this argument—that
        competition was ill-suited for the dental industry—as
        squarely foreclosed by Professional Engineers. Id.
            Trial Lawyers Association followed a similar track, but
        with respect to a requested exemption from a per se rule. A
        professional association comprising about 90% of “regulars”
        appointed for indigent criminal defense in the Superior Court
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 56 of 91
        56               EPIC GAMES, INC. V. APPLE, INC.


        of the District of Columbia entered into a group boycott
        against the District until it “substantially increase[d]” hourly
        rates. FTC v. Sup. Ct. Trial Lawyers’ Ass’n, 493 U.S. 411,
        416 (1990). The Association argued that its actions were not
        unlawful because the District had a “constitutional duty” to
        provide adequate representation to indigent defendants,
        which required it to provide meaningful compensation to
        their attorneys. Id. at 423. The Court refused to exempt the
        Association’s conduct from the normal application of
        antitrust’s per se prohibition on group boycotts, concluding
        that “[t]he social justifications proffered for respondents’
        restraint of trade . . . do not make it any less unlawful.” Id.
        at 424.
            The Supreme Court followed suit last term in Alston
        when it rejected the NCAA’s sweeping plea for leniency.
        The NCAA argued that something more deferential than the
        Rule of Reason should apply to its restrictions on student-
        athlete compensation because the NCAA’s amateurism
        restrictions advance the “societally important non-
        commercial objective of higher education.” Alston, 141 S.
        Ct. at 2158. The Supreme Court held that this argument—
        that the NCAA “should be exempt from the usual operation
        of the antitrust laws”—should be directed to Congress, not a
        court. Id. at 2160.
            Apple’s rationales categorically differ from those
        asserted in the above cases. Apple did not agree with other
        app-transaction platforms (e.g., the Google Play Store) to
        eliminate interbrand competition and then invoke security
        and privacy to avoid the “normal operation” of the Rule of
        Reason. Id. at 2147. Rather, Apple imposed intrabrand
        limitations (that iOS devices use Apple distribution and
        payment-processing channels) and contends that these
        restrictions tap into consumer demand for a private and
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 57 of 91
                        EPIC GAMES, INC. V. APPLE, INC.            57


        secure user experience and distinguish the App Store from
        its open-platform competitors.
               3. Cognizability of Cross-Market Rationales
            Epic finally argues that, even if Apple’s security and
        privacy restrictions are procompetitive, they increase
        competition in a different market than the district court
        defined and in which Epic showed step-one anticompetitive
        effects, and thus are not legally cognizable at step two. In
        Epic’s view, Apple’s rationales relate to the market for
        smartphone operating systems (or the market for
        smartphones), while the anticompetitive effects of Apple’s
        restrictions impact the market for mobile-game transactions.
             The Supreme Court’s precedent on this issue is not clear.
        While amici argued in Alston that cross-market justifications
        fail as a matter of law, the Supreme Court “express[ed] no
        view[]” on the argument. 141 S. Ct. at 2155. Dicta from one
        per se decision provides some support for Epic’s position.
        See United States v. Topco Assocs., Inc., 405 U.S. 596, 609–
        10 (1972) (courts are unable “to weigh, in any meaningful
        sense, destruction of competition in one sector of the
        economy against promotion of competition in another
        sector”). But the Supreme Court has considered cross-
        market rationales in Rule of Reason and monopolization
        cases. See Kodak, 504 U.S. at 482–84 (relevant market of
        Kodak-brand service and parts; procompetitive rationale in
        market for photocopiers); NCAA v. Bd. of Regents of Univ.
        of Okla., 468 U.S. 85, 104–08, 115–17 (1984) (relevant
        market of college football television; procompetitive
        rationale of protecting the market for college football
        tickets). Our court’s precedent is similar. While we have
        never expressly confronted this issue, we have previously
        considered cross-market rationales when applying the Rule
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 58 of 91
        58               EPIC GAMES, INC. V. APPLE, INC.


        of Reason. See O’Bannon, 802 F.3d at 1069–73; In re NCAA
        Athletic Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239,
        1266–71 (9th Cir. 2020) (M. Smith, J., concurring).
            We decline to decide this issue here. Like Epic’s general
        cognizability argument, Epic did not raise this argument
        below. Nor did it raise this argument in its opening brief
        before our court, denying Apple an opportunity to respond.
        See Miller v. Fairchild Indus., Inc., 797 F.2d 727, 738 (9th
        Cir. 1986).
            More importantly, we need not decide this issue because
        Epic’s argument rests on an incorrect reading of the record.
        Contrary to Epic’s contention, Apple’s procompetitive
        justifications do relate to the app-transactions market.
        Because use of the App Store requires an iOS device, there
        are two ways of increasing App Store output: (1) increasing
        the total number of iOS device users, and (2) increasing the
        average number of downloads and in-app purchases made
        by iOS device users. Below, the district court found that a
        large portion of consumers factored security and privacy into
        their decision to purchase an iOS device—increasing total
        iOS device users. It also found that Apple’s security- and
        privacy-related restrictions “provide[] a safe and trusted user
        experience on iOS, which encourages both users and
        developers to transact freely”—increasing the per-user
        average number of app transactions.
             D. Step Three: Substantially Less Restrictive Means
            The district court did not clearly err when it held that
        Epic failed to prove the existence of substantially less
        restrictive alternatives (LRAs) to achieve Apple’s
        procompetitive rationales. At step three of the Rule of
        Reason, “the burden shifts back to the plaintiff to
        demonstrate that the procompetitive efficiencies could be
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 59 of 91
                         EPIC GAMES, INC. V. APPLE, INC.             59


        reasonably achieved through less anticompetitive means.”
        Alston, 141 S Ct. at 2160 (quoting Amex, 138 S. Ct. at 2284).
        When evaluating proposed alternative means, courts “must
        give wide berth to [defendants’] business judgments” and
        “must resist the temptation to require that enterprises employ
        the least restrictive means of achieving their legitimate
        business objectives.” Id. at 2163, 2166; see also id. at 2161
        (“[A]ntitrust law does not require businesses to use anything
        like the least restrictive means of achieving legitimate
        business purposes.”). As such, this circuit’s test—which the
        Supreme Court approved in Alston—requires a
        “substantially less restrictive” alternative. O’Bannon, 802
        F.3d at 1070 (emphasis added) (quoting Tanaka v. Univ. of
        S. Cal., 252 F.3d 1059, 1063 (9th Cir. 2001)). To qualify as
        “substantially less restrictive,” an alternative means “must
        be ‘virtually as effective’ in serving the [defendant’s]
        procompetitive purposes . . . without significantly increased
        cost.” Id. at 1074 (quoting County of Tuolumne v. Sonora
        Cmty. Hosp., 236 F.3d 1148, 1159 (9th Cir. 2001)).
            Because LRAs inform the injunctive relief that a district
        court may enter if a plaintiff prevails, courts must also keep
        in mind “a healthy respect for the practical limits of judicial
        administration” when evaluating proposed LRAs. Alston,
        141 S. Ct. at 2163. Courts should not “impose a duty . . . that
        it cannot explain or adequately and reasonably supervise.”
        Id. (quoting Verizon Commc’ns Inc. v. L. Offs. Of Curtis V.
        Trinko, LLP, 540 U.S. 398, 415 (2004)).
            We review a district court’s findings on the existence of
        substantially less restrictive means for clear error. See, e.g.,
        NCAA Antitrust Litig., 958 F.3d at 1260; O’Bannon, 802
        F.3d at 1074. This includes both the “virtually as effective”
        and “significantly increased cost” components encompassed
        in that finding. See NCAA Antitrust Litig., 958 F.3d. at 1260.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 60 of 91
        60                 EPIC GAMES, INC. V. APPLE, INC.


                 1. Proposed LRA to the Distribution Restriction
            Epic argues that Apple already has an LRA at its disposal
        for the distribution restriction: the “notarization model” that
        Apple uses for app distribution on its desktop and laptop
        operating system (macOS). 16 The notarization model sits
        somewhere between iOS’s “walled garden” and the open-
        platform model that characterizes some app-transaction
        platforms. Unlike on iOS, the Mac Store (the Apple-run
        equivalent of the iOS App Store for Mac computers) is not
        the exclusive means for macOS users to download apps;
        instead, users can download apps from the Mac Store or
        anywhere else on the internet. Also unlike on iOS, a
        developer can distribute a macOS app to users without first
        submitting it to Apple. But, regardless of how the developer
        distributes that app, it will carry a warning that Apple has
        not scanned it for malware. The developer, however, can
        choose to submit the app to Apple. If the app passes Apple’s
        malware scan, then the developer can distribute the app to
        users—again, through the Mac Store or otherwise—without
        the warning that accompanies unscanned apps.
             The malware scanning that Apple performs in the
        notarization model is not the same as the full app review that
        it conducts on iOS apps. Importantly, the notarization model
        does not include human review—a contextual review that,
        as found by the district court, cannot currently be automated.
        As part of iOS human review, a reviewer confirms that an
        app corresponds to its marketing description to weed out
        “Trojan Horse” apps or “social engineering” attacks that


        16
          In the district court, Epic also proposed the “enterprise model” (which
        Apple already implements for some iOS apps), but Epic does not
        advance that model on appeal as a proposed LRA.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 61 of 91
                           EPIC GAMES, INC. V. APPLE, INC.                  61


        trick users into downloading by posing as something they are
        not. The reviewer also checks that the app’s entitlements are
        reasonable for its purpose—rejecting, for example, a Tic-
        Tac-Toe game that asks for camera access and health data,
        while approving camera access for a social media app. On
        occasion, human review also detects novel, well-disguised
        malware attacks. Despite Epic carrying the burden at step
        three of the Rule of Reason, it was not clear before the
        district court—and still is not entirely clear—how Epic
        proposes that the notarization model translates from macOS
        to iOS. In particular, it is unclear whether the proposed
        model would incorporate human review and what type (if
        any) of licensing scheme Apple could implement to
        complement the notarization model. 17 Whatever the precise
        form of Epic’s proposed notarization model, the district
        court did not err in rejecting it.
            First, to the extent Epic argues that Apple could jot-for-
        jot adopt macOS’s notarization model without adding
        human review, Epic failed to establish that this model would
        be “virtually as effective” in accomplishing Apple’s
        procompetitive rationales of enhancing consumer appeal and
        distinguishing the App Store from competitor app-
        transaction platforms by improving user security and
        privacy. See O’Bannon, 802 F.3d at1073. The district court

        17
           There is even some discrepancy between the injunctive relief Epic
        requests and the basic mechanics of the notarization system. As
        explained, the notarization model labels unscanned apps with a warning.
        Yet Epic requested an injunction that would prohibit Apple from in any
        way “impeding or deterring the distribution of iOS apps” through non-
        App Store “distribution channel[s].” A malware warning would
        seemingly steer some consumers back to the App Store—raising some
        question of whether it would violate the “impeding or deterring”
        prohibition.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 62 of 91
        62              EPIC GAMES, INC. V. APPLE, INC.


        ultimately found that the record contained “some evidence”
        that macOS computers experience higher malware rates than
        iOS devices. It also noted a third-party report that Android
        devices have higher malware rates than iOS ones due to
        Trojan Horse apps being distributed through open app-
        transaction platforms. And it credited Apple’s anecdotal
        evidence that human review sometimes detects novel
        malware attacks that slip through malware scans. Moreover,
        the district court found “compelling” Apple’s explanation of
        why human review is necessary “against certain types of
        attacks.” And it found that “Epic Games did not explain
        how, if at all” a purely automated process could screen for
        such threats. It also noted that Epic’s security expert
        testified that he did not consider fraud-prevention in his
        security analysis, that his opinion on the value-added of
        human app review “may change” if he did, and that
        automated protections “do not protect users against” social-
        engineering threats. Based on this record, the district court
        did not clearly err in finding that a process without human
        app review would not be “virtually as effective” as Apple’s
        current model.
            Second, to the extent Epic proposes a notarization model
        that incorporates human app review, Epic failed to develop
        how Apple could be compensated in such a model for third-
        party developers’ use of its IP. Epic argues that “app review
        can be relatively independent on app distribution” and
        envisions a model in which a developer would submit an
        app, Apple would review it, and then “send it back to the
        developer to be distributed directly or in another store.” For
        example, Epic could submit a gaming app to Apple; Apple
        would scan it for malware and subject it to human review;
        and then Epic could choose to distribute it through the App
        Store, the Epic Games Store, or both.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 63 of 91
                         EPIC GAMES, INC. V. APPLE, INC.               63


             While such a model would clearly be “virtually as
        effective” in achieving Apple’s security and privacy
        rationales (it contains all elements of Apple’s current
        model), Epic simply failed to develop how such a model
        would allow Apple to be compensated for developers’ use of
        its IP. At closing argument, the district court asked Epic
        whether its requested injunctive relief would allow Apple to
        impose some sort of licensing fee. Epic responded that
        “Apple can charge,” but it offered no concrete guidance on
        how to do so. Instead, Epic stated only that Apple “could
        charge certain developers more than others based on the
        advantage that they take of the platform” and that it
        “expect[s], given the innovation in Cupertino, that [Apple]
        would find ways to profit from their intellectual property and
        other contributions.” The district court accordingly found
        that Epic’s proposed distribution LRAs “leave unclear
        whether Apple can collect licensing royalties and, if so, how
        it would do so” and thus declined to consider them as “not
        sufficiently developed.”
            On appeal, Epic attempts to transfigure into an LRA the
        district court’s off-hand statement noting the absence of
        “evidence that Apple could not create a tiered licensing
        scheme[,] which would better correlate the value of its
        intellectual property to the various levels of use by
        developers.” It is, however, Epic’s burden at step three to
        prove that a tiered licensing scheme (or some other payment
        mechanism) could achieve Apple’s IP-compensation
        rationale. Without any evidence in the record of what this
        tiered licensing scheme would look like, we cannot say that
        it would be “virtually as effective” without “significantly
        increased cost.” O’Bannon, 802 F.3d at 1074. Nor can we
        even “explain” it, let alone direct the district court to craft an
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 64 of 91
        64                  EPIC GAMES, INC. V. APPLE, INC.


        injunction that it could “adequately and reasonably
        supervise.” Alston, 141 S. Ct. at 2163.
                 2. Proposed LRA to the IAP Requirement
            Epic proposes access to competing payment processors
        as an LRA to Apple’s IAP requirement. Like the distribution
        requirement LRA, this LRA suffers from a failure of proof
        on how it would achieve Apple’s IP-compensation
        rationale. 18 As the district court noted, in a world where
        Apple maintains its distribution restriction but payment
        processing is opened up, Apple would still be contractually
        entitled to its 30% commission on in-app purchasers. Apart
        from any argument by Epic, the district court “presume[d]”
        that Apple could “utilize[e] a contractual right to audit
        developers . . . to ensure compliance with its commissions.”
        But the court then rejected such audits as an LRA because
        they “would seemingly impose both increased monetary and
        time costs.”
             E. Step Four: Balancing
            Epic—along with several amici, including the United
        States and thirty-four state attorneys general—argue that the
        district court erred by not proceeding to a fourth, totality-of-
        the-circumstances step in the Rule of Reason and balancing

        18
           As Epic argues, the district court’s ultimate conclusion on the security
        rationale (that opening up payment processing would undermine Apple’s
        “competitive advantage on security issues”) seems difficult to square
        with several of the court’s antecedent factual findings (e.g., that “Apple
        has not show how its [IAP] process is any different” and that “any
        potential for fraud prevention [through IAP] is not put into practice”).
        Because Epic’s LRA fails on the IP-compensation aspect, we need not
        decide whether the district court clearly erred when it also rejected the
        LRA for not being virtually as effective in accomplishing Apple’s
        security and privacy rationales.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 65 of 91
                           EPIC GAMES, INC. V. APPLE, INC.                   65


        the anticompetitive effects of Apple’s conduct against its
        procompetitive benefits. We hold that our precedent
        requires a court to proceed to this fourth step where, like
        here, the plaintiff fails to carry its step-three burden of
        establishing viable less restrictive alternatives. However,
        the district court’s failure to expressly do so was harmless in
        this case.
            We have been inconsistent in how we describe the Rule
        of Reason. Some decisions, when describing the Rule of
        Reason, contemplate a fourth step. See, e.g., Qualcomm, 969
        F.3d at 991; County of Tuolumne, 236 F.3d at 1160. Others
        do not. See, e.g., NCAA Antitrust Litig., 958 F.3d at 1263;
        Tanaka, 252 F.3d at 1063. Because of the paucity of cases
        that survive step one (let alone require a court to exhaust the
        three agreed-upon steps), most of our decisions have not
        required us to actually proceed to the portion of the analysis
        where Epic and its amici argue balancing would occur. 19
            The exception is County of Tuolumne, which provides
        the most on-point guidance regarding the existence of a
        fourth step. There, we held: “Because plaintiffs have failed
        to meet their burden of advancing viable less restrictive
        alternatives, we reach the balancing stage. We must balance
        the harms and benefits of the [challenged restrictions] to
        determine whether they are reasonable.” 236 F.3d at 1160
        (citation omitted). We then concluded, with just one
        sentence of analysis, that “any anticompetitive harm is offset


        19
           In Alston, the Supreme Court cited an amicus brief reporting that
        courts have decided 90% of Rule of Reason cases since 1977 at step one.
        141 S. Ct. at 2160–61. A similar amicus brief filed in this case echoes
        this statistic and reports that the figure rises to 97% when considering
        only post-1999 cases.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 66 of 91
        66               EPIC GAMES, INC. V. APPLE, INC.


        by the procompetitive effects of [defendant’s] effort to
        maintain the quality of patient care that it provides.” Id.
            Supreme Court precedent neither requires a fourth step
        nor disavows it. In the Court’s two most recent Rule of
        Reason decisions, it discussed only the three agreed-upon
        steps. See Alston, 141 S. Ct. at 2160; Amex, 138 S. Ct. at
        2284. But the Court did not characterize that test as the
        exclusive expression of the Rule of Reason. Alston stated
        that the Court “has sometimes spoken of ‘a three-step,
        burden-shifting framework,” emphasized that those “steps
        do not represent a rote checklist” or “an inflexible substitute
        for careful analysis,” and approvingly cited one of the
        Areeda and Hovenkamp treatises as using a “slightly
        different ‘decisional model.’” 141 S. Ct. at 2160 (emphasis
        added).
            We are skeptical of the wisdom of superimposing a
        totality-of-the-circumstances balancing step onto a three-
        part test that is already intended to assess a restraint’s overall
        effect. Neither Epic nor any amicus has articulated what this
        balancing really entails in a given case. Epic argues only
        that the district court must “weigh[]” anticompetitive harms
        against procompetitive benefits, and the United States
        describes step four as a “qualitative assessment of whether
        the harms or benefits predominate.” Nor is it evident what
        value a balancing step adds. Several amici suggest that
        balancing is needed to pick out restrictions that have
        significant anticompetitive effects but only minimal
        procompetitive benefits. But the three-step framework is
        already designed to identify such an imbalance: A court is
        likely to find the purported benefits pretextual at step two, or
        step-three review will likely reveal the existence of viable
        LRAs. We are thus “wary about [this] invitation[] to ‘set sail
        on a sea of doubt.’” Alston, 141 S. Ct. at 2166 (quoting
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 67 of 91
                         EPIC GAMES, INC. V. APPLE, INC.              67


        United States v. Addyston Pipe & Steel Co., 85 F. 271, 284
        (6th Cir. 1898) (Taft, J.)).
            Nonetheless, we are bound by County of Tuolumne and
        mindful of Alston’s warning that the first three steps of the
        Rule of Reason are not a “rote checklist.” Therefore, where
        a plaintiff’s case comes up short at step three, the district
        court must proceed to step four and balance the restriction’s
        anticompetitive harms against its procompetitive benefits.
        In most instances, this will require nothing more than—as in
        County of Tuolumne—briefly confirming the result
        suggested by a step-three failure: that a business practice
        without a less restrictive alternative is not, on balance,
        anticompetitive. But the Sherman Act is a flexible statute
        that has and will continue to evolve to meet our country’s
        changing economy, so we will not “embarrass the future” by
        suggesting that will always be the case. Nw. Airlines, Inc. v.
        Minnesota, 322 U.S. 292, 300 (1944).
              Turning to the record here, the district court’s failure to
        explicitly reach the fourth step was harmless. Even though
        it did not expressly reference step four, it stated that it
        “carefully considered the evidence in the record and
        . . . determined, based on the rule of reason,” that the
        distribution and IAP restrictions “have procompetitive
        effects that offset their anticompetitive effects” (emphasis
        added). This analysis satisfied the court’s obligation
        pursuant to County of Tuolumne, and the court’s failure to
        expressly give this analysis a step-four label was harmless.
        III.    Sherman Act Section 1: Tying
            In addition to its general restraint-of-trade claim, Epic
        brought a Section 1 claim asserting that Apple unlawfully
        tied together app distribution (the App Store) and in-app
        payment processing (IAP). On appeal, Epic argues that (1)
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 68 of 91
        68               EPIC GAMES, INC. V. APPLE, INC.


        the district court clearly erred when it found that Epic did not
        identify separate products, and (2) we can enter judgment in
        its favor because the tie is unlawful, either per se or pursuant
        to the Rule of Reason. We agree with Epic that the district
        court clearly erred in its separate-products finding, but we
        find that error to be harmless. The Rule of Reason applies
        to the tie involved here, and, for the reasons already
        explained, Epic failed to establish that Apple’s design of the
        iOS ecosystem—which ties the App Store and IAP
        together—is anticompetitive.
             A. Existence of a Tie
             “A tying arrangement is ‘an agreement by a party to sell
        one product but only on the condition that the buyer also
        purchases a different (or tied) product, or at least agrees that
        he will not purchase that product from any other supplier.’”
        Kodak, 504 U.S. at 461 (quoting N. Pac. R. Co. v. United
        States, 356 U.S. 1, 5–6 (1958)). To prove the existence of a
        tie, a party must make two showings.
             First, the arrangement must, of course, involve two (or
        more) separate products. Pursuant to Jefferson Parish and
        Kodak, we apply a consumer-demand test when conducting
        this inquiry: To constitute two separate products, “[t]here
        must be sufficient consumer demand so that it is efficient for
        a firm to provide” the products separately. Kodak, 504 U.S.
        at 462 (citing Jefferson Parish, 466 U.S. at 21–22).
        Importantly, the separate-products inquiry “turns not on the
        functional relation between them, but rather on the character
        of the demand for the two items.” Jefferson Parish, 466 U.S.
        at 19 & n.30. This consumer-demand test, in turn, has two
        parts: (1) that it is possible to separate the products, and (2)
        that it is efficient to do so, as inferred from circumstantial
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 69 of 91
                         EPIC GAMES, INC. V. APPLE, INC.               69


        evidence. See Areeda & Hovenkamp, Antitrust Law, supra,
        ⁋⁋ 1743–45.
            The efficiency showing does not require a full-blown
        economic analysis. Because the showing is just a threshold
        step to reaching the merits of a tie (including, sometimes, the
        application of a per se rule), it would be incongruous to
        require a resource-intensive showing. See N. Pac. R. Co.,
        356 U.S. at 5 (per se rules are meant to “avoid[] the necessity
        for an incredibly complicated and prolonged economic
        investigation”). Accordingly, the existence of separate
        products is inferred from “more readily observed facts.”
        Areeda & Hovenkamp, Antitrust Law, supra, ⁋ 1745c.
        These include consumer requests to offer the products
        separately, disentangling of the products by competitors,
        analogous practices in related markets, and the defendant’s
        historical practice. See Jefferson Parish, 466 U.S. at 22
        (noting that patients and surgeons “often request specific
        anesthesiologists [the tied service] to come to a hospital [the
        tying service]” and “other hospitals often permit
        anesthesiologic services to be purchased separately”);
        Kodak, 504 U.S. at 463 (finding sufficient at the 12(b)(6)
        stage allegations that “consumers would purchase service
        without parts” and that the defendant had sold them
        “separately in the past”).
            Second, even where a transaction involves separate
        products, it is not necessarily a tie; the seller must also “force
        the buyer into the purchase of a tied product that the buyer
        either did not want at all, or might have preferred to purchase
        elsewhere on different terms.” Jefferson Parish, 466 U.S. at
        12. Were a buyer merely to agree “to buy [a] second product
        on its own merits” absent any coercion, there would be no
        tie. Areeda & Hovenkamp, Antirust Law, supra, ⁋ 1752.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 70 of 91
        70               EPIC GAMES, INC. V. APPLE, INC.


            We review a finding that no tie occurred for clear error.
        Krehl v. Baskin-Robbins Ice Cream Co., 664 F.2d 1348,
        1354 (9th Cir. 1982) (reviewing separate-products finding
        for clear error); Mozart Co. v. Mercedes-Benz of N. Am.,
        Inc., 833 F.2d 1342, 1346 (9th Cir. 1987) (treating coercion
        as a fact question).
            Here, the district court found that there was no tie
        because app distribution and IAP are not separate products.
        It based this finding on four rationales—each of which is
        either clearly erroneous or incorrect as a matter of law.
             To begin, the district court erred as a matter of law when
        it concluded that IAP was not separate from app distribution
        because IAP is “integrated into . . . iOS devices.” Jefferson
        Parish expressly rejects an approach to the separate-
        products inquiry based on the “functional relation” between
        two purported products. 466 U.S. at 19.
            Next, the district court clearly erred when it found that
        “Epic Games presented no evidence showing that demand
        exists for IAP as a standalone product.” Here, the App Store
        and IAP clearly can be separated because Apple already
        does so in certain contexts, namely that IAP is not required
        for in-app purchases of physical goods. The efficiency
        showing is also met. Epic produced evidence that it,
        Facebook, Microsoft, Spotify, Match, and Netflix, have all
        tried to convince Apple to let them develop their own in-app
        payment solutions. The Epic Games Store—a direct
        competitor of Apple in the mobile-games submarket—
        delinks distribution from payment processing. And prior to
        IAP’s development in 2009, Apple distributed apps through
        the App Store but permitted developers to use their own in-
        app payment systems.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 71 of 91
                           EPIC GAMES, INC. V. APPLE, INC.                  71


            Relatedly, the district court clearly erred when it
        reasoned that, even if Apple did not require IAP, Apple
        would still be entitled to collect a commission on payments
        made and, therefore, “no economically rational developer
        would choose to use the alternative [payment] processor.”
        The district court itself found that “Epic Games raises
        legitimate concerns” about the non-price features of IAP,
        including that: “Apple does a poor job of mediating disputes
        between a developer and its customers”; that Apple’s one-
        size-fits-all refund approach “leads to poor [customer]
        experiences”; and that IAP’s exclusion of developers from
        transactions “can also increase fraud.”
            Finally, the district court erred as a matter of law when it
        concluded that a product in a two-sided market can never be
        broken into multiple products. Despite Apple’s strained
        effort to portray this as a factual finding, the district court
        imposed a bright-line legal rule. But Amex simply does not
        stand for the proposition that any two-sided platform will
        necessarily relate only to one market. Instead, it emphasized
        that market definition must “reflect[] commercial realities.”
        138 S. Ct. at 2285. Indeed, if Amex truly required a one-
        platform, one-market rule, then the district court’s market
        definition—mobile gaming transactions, instead of all app
        transactions—would be erroneous, despite the court’s
        extensive findings that game and non-game apps are
        characterized by significantly different demand. 20


        20
           We also reject Apple’s argument that that there is no tie because
        “thousands of developers . . . offer no in-app purchase[s].” True, a
        classic tie is: “I will sell you X widgets only if you buy Y bolts from
        me.” Here, the DPLA essentially provides: “Apple will sell you app-
        distribution transactions only if you buy your in-app-purchase-
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 72 of 91
        72                 EPIC GAMES, INC. V. APPLE, INC.


             B. Lawfulness of the Tie
            A tie can be unlawful pursuant to either a modified per
        se rule or the Rule of Reason. A tie is per se unlawful if (1)
        the defendant has market power in the tying product market,
        and (2) the “tying arrangement affects a ‘not insubstantial
        volume of commerce’ in the tied product market.” Blough
        v. Holland Realty, Inc, 574 F.3d 1084, 1089 (9th Cir. 2009)
        (quoting Cascade Health Solutions v. PeaceHealth, 515
        F.3d 883, 912–13 (9th Cir. 2008)). The first prong requires
        the market-power inquiry standard throughout antitrust law.
        The second prong requires only that the tie affect an amount
        of commerce in the tied product market that is not “de
        minimis.” Datagate, Inc. v. Hewlett-Packard Co., 60 F.3d
        1421, 1426 (9th Cir. 1995). These requirements are met
        here: Apple has market power in the app-distribution market.
        And the tie affects a non “de minimis” amount of commerce
        in the in-app-payment-processing market: Apple requires
        IAP to be used for more than half of the transactions that
        comprise a $100 billion market.
            Nonetheless, we join the D.C. Circuit in holding that per
        se condemnation is inappropriate for ties “involv[ing]
        software that serves as a platform for third-party
        applications.” Microsoft, 253 F.3d at 89. “It is only after
        considerable experience with certain business relationships
        that courts classify them as per se violations.” Broad.
        Music, Inc. v. Columbia Broad. Sys., Inc., 441 U.S. 1, 9
        (1979) (quoting Topco Assocs., 405 U.S. at 606). That is

        processing requirements from Apple.” Substituting a requirements term
        for a quantity term does not change the nature of the agreement. See
        Kodak, 504 U.S. at 461 (ties include agreement[s] “to sell one product
        but only on the condition that the buyer . . . not purchase that product
        from any other supplier” (citation omitted)).
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 73 of 91
                         EPIC GAMES, INC. V. APPLE, INC.             73


        because per se condemnation embodies a judicial
        assessment that a category of restraints is “plainly
        anticompetitive” and “lack[ing] . . . [in] any redeeming
        virtue” such that it can be “conclusively presumed illegal.”
        Id. at 7–8 (citations omitted). Given the costs of improperly
        condemning a practice across the board, extending a per se
        rule requires caution and judicial humility. See White Motor
        Co. v. United States, 372 U.S. 253, 263 (1963) (“We need to
        know more than we do about the actual impact of these
        arrangements on competition to decide whether they
        . . . should be classified as per se violations of the Sherman
        Act.”); Microsoft, 253 F.3d at 94 (“We do not have enough
        empirical evidence regarding the effect of [the] practice
        . . . to exercise sensible judgment regarding that entire class
        of behavior.”). Based on the record, we do not have the level
        of confidence needed to universally condemn ties related to
        app-transaction platforms that combine multiple
        functionalities. See Microsoft, 253 F.3d at 93 (“[B]ecause of
        the pervasively innovative character of platform software
        markets, tying in such markets may produce efficiencies that
        courts have not previously encountered and thus the
        Supreme Court had not factored into the per se rule as
        originally conceived.”).
             The tie in this case differs markedly from those the
        Supreme Court considered in Jefferson Parish and prior
        tying cases. Particularly, “[i]n none of these cases was the
        tied good . . . technologically integrated with the tying
        good.” Microsoft, 253 F.3d at 90. Moreover, none of the
        ties presented any purported procompetitive benefits that
        could not be achieved by adopting quality standards for
        third-party suppliers of the tied good, as Apple does here.
        Id.; see also Int’l Salt Co. v. United States, 332 U.S. 392, 398
        (1947) (noting purported benefit can be achieved by
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 74 of 91
        74               EPIC GAMES, INC. V. APPLE, INC.


        implementing quality control for machine consumables),
        abrogated on other grounds by Ill. Tool, 547 U.S. 28; Int’l
        Bus. Machs. Corp. v. United States, 298 U.S. 131, 139
        (1936) (same).
             Moreover, while Jefferson Parish’s separate-products
        test filters out procompetitive bundles from per se scrutiny
        in traditional markets, we are skeptical that it does so in the
        market involved here. Software markets are highly
        innovative and feature short product lifetimes—with a
        constant process of bundling, unbundling, and rebundling of
        various functions. In such a market, any first-mover product
        risks being labeled a tie pursuant to the separate-products
        test. See Microsoft, 253 F.3d at 92. If per se condemnation
        were to follow, we could remove would-be popular products
        from the market—dampening innovation and undermining
        the very competitive process that antitrust law is meant to
        protect. The Rule of Reason guards against that risk by
        “afford[ing] the first mover an opportunity to demonstrate
        that an efficiency gain from its ‘tie’ adequately offsets any
        distortion of consumer choice.” Id.
            Applying the Rule of Reason to the tie involved here, it
        is clearly lawful. Epic’s tying claim (that app distribution
        and payment processing are tied together) is simply a
        repackaging of its generic Section 1 claim (that the
        conditions under which Apple offers its app-transactions
        product are unreasonable). For the reasons we explained
        above, Epic failed to carry its burden of proving that Apple’s
        structure of the iOS ecosystem is unreasonable. See supra
        section II.
        IV.    Sherman Act Section 2: Monopoly Maintenance
            We now consider Epic’s Sherman Act Section 2 claim
        that Apple unlawfully maintained a monopoly. Section 2
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 75 of 91
                         EPIC GAMES, INC. V. APPLE, INC.               75


        makes it unlawful to “monopolize, or attempt to monopolize,
        or combine or conspire . . . to monopolize” a market. 15
        U.S.C. § 2. A Section 2 monopolization claim “has two
        elements: (1) the possession of monopoly power in the
        relevant market and (2) the willful acquisition or
        maintenance of that power as distinguished from growth or
        development as a consequence of a superior product,
        business acumen, or historic accident.” United States v.
        Grinnell Corp., 384 U.S. 563, 570–71 (1966); accord
        Qualcomm, 969 F.3d at 990; Microsoft, 253 F.3d at 50.
            At step one, the plaintiff must establish that the
        defendant possesses monopoly power, which is the
        substantial ability “to control prices or exclude competition.”
        Grinnell, 384 U.S. at 571; accord United States v. Syufy
        Enters., 903 F.2d 659, 664 (9th Cir. 1990). Monopoly power
        differs in degree from market power, requiring “something
        greater.” Kodak, 504 U.S. at 481; see also Areeda &
        Hovenkamp, Antitrust Law, supra, ⁋ 600b (market power
        and monopoly power exist along a spectrum). Like market
        power, monopoly power can be established either directly or
        indirectly. Rebel Oil, 51 F.3d at 1434; see Microsoft, 253
        F.3d at 51.
             At step two, the plaintiff must show that the defendant
        acquired or maintained its monopoly through
        “anticompetitive conduct.” Trinko, 540 U.S. at 407. This
        anticompetitive-conduct requirement is “essentially the
        same” as the Rule of Reason inquiry applicable to Section 1
        claims. Qualcomm, 969 F.3d at 991; see also Microsoft, 253
        F.3d at 59 (“[I]t is clear . . . that the analysis under section 2
        is similar to that under section 1 regardless whether the rule
        of reason label is applied.” (citation omitted)). Where, like
        here, the plaintiff challenges the same conduct pursuant to
        Sections 1 and 2, we can “review claims under each section
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 76 of 91
        76               EPIC GAMES, INC. V. APPLE, INC.


        simultaneously.” Qualcomm, 969 F.3d at 991. And if “a
        court finds that the conduct in question is not anticompetitive
        under § 1, the court need not separately analyze the conduct
        under § 2.” Id.
            At step one in this case, the district court found that
        although Apple possesses “considerable” market power in
        the market for mobile-game transactions, that power is not
        durable enough to constitute monopoly power given the
        influx nature of the market. It then, at step two, echoed its
        Rule of Reason conclusion that Epic failed to establish
        Apple’s restrictions were anticompetitive.
            We affirm the district court’s rejection of Section 2
        liability. Epic does not argue on appeal that the district court
        clearly erred in finding that Apple lacks monopoly power in
        the mobile-games market. It argues only that the district
        court erred in rejecting its single-brand markets in which
        Apple would have a 100% market share—an argument we
        reject above. See supra section I. Moreover, even assuming
        Apple has monopoly power, Epic failed to prove Apple’s
        conduct was anticompetitive. See supra sections II–III.
        V.     Breach of Contract
            Apple counter-sued Epic for breach of contract. Epic
        stipulated that it breached the DPLA when it implemented
        the Fortnite hotfix, which allowed it to process in-game
        transactions in violation of Apple’s IAP restriction. Epic
        raised several affirmative defenses, however, and argued
        that the DPLA is illegal, void as against public policy, and
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 77 of 91
                             EPIC GAMES, INC. V. APPLE, INC.                         77


        unconscionable. The district court rejected each defense,
        and Epic now challenges the illegality holding on appeal. 21
            The parties agree that Epic’s illegality defense rises and
        falls with its Sherman Act claims. Because we affirm the
        district court’s holding that Epic failed to prove Apple’s
        liability pursuant to the Sherman Act, we also affirm its
        rejection of Epic’s illegality defenses.
        VI.       California’s Unfair Competition Law
            We now turn to Apple’s cross-appeal, beginning with its
        arguments concerning the UCL. The district court found that
        Epic suffered an injury sufficient to confer Article III
        standing, concluded that Apple’s anti-steering provision
        violates the UCL’s unfair prong, and entered an injunction
        prohibiting Apple from enforcing the anti-steering provision
        against any developer. Apple challenges each aspect on
        appeal. We affirm.
              A. Standing
           Article III limits federal courts’ jurisdiction to “[c]ases”
        and “[c]ontroversies.” U.S. Const. art. III, § 2. “One

        21
           In its briefs, Epic also asserts that the district court erred in ruling that
        the DPLA was neither void-against-public-policy nor unconscionable,
        but the only substantive argument it makes is that the DPLA violates the
        Sherman Act. These doctrines, however, do not sound in express
        illegality. See Cal. Civ. Code § 1667(2) (a contract is void if it is
        “contrary to the policy of express law, though not expressly prohibited”);
        Lhotka v. Geographic Expeditions, Inc., 181 Cal. App. 4th 816, 821, 824
        (2010) (a contract is unconscionable if there is a disparity in bargaining
        power and the contract “reallocates risks in an objectively unreasonable
        or unexpected manner”). As such, Epic’s invocation of these doctrines
        without any relevant argument is insufficient to raise them on appeal.
        See Singh v. Am. Honda Fin. Corp., 925 F.3d 1053, 1075 n.22 (9th Cir.
        2019).
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 78 of 91
        78               EPIC GAMES, INC. V. APPLE, INC.


        essential aspect of this [limitation] is that any person
        invoking the power of a federal court must demonstrate
        standing to do so.” Va. House of Delegates v. Bethune-Hill,
        139 S. Ct. 1945, 1950 (2019) (quoting Hollingsworth v.
        Perry, 570 U.S. 693, 704 (2013)). Constitutional standing
        requires a showing of: “(1) a concrete and particularized
        injury, that (2) is fairly traceable to the challenged conduct,
        and (3) is likely to be redressed by a favorable decision.” Id.
        Article III requires “that an ‘actual controversy’ persist
        throughout all stages of litigation.” Id. at 1951 (quoting
        Hollingsworth, 570 U.S. at 705).
            Apple terminated Epic’s iOS developer account in
        August 2020. Then in September 2021 after the district
        court issued its order holding that Epic breached the DPLA,
        Apple informed Epic that it had no intention of reinstating
        Epic’s developer account. As a result, Epic has no apps
        remaining on the App Store. Apple therefore argues that
        Epic is no longer injured by the anti-steering provision.
        Apple’s argument, however, overlooks two critical aspects
        of the record. First, while Epic itself has no apps on the App
        Store, its subsidiaries do—causing Epic to be injured
        through the anti-steering provision’s effects on its
        subsidiaries’ earnings. Second, Epic is a competing game
        distributor through the Epic Games Store and offers a 12%
        commission compared to Apple’s 30% commission. If
        consumers can learn about lower app prices, which are made
        possible by developers’ lower costs, and have the ability to
        substitute to the platform with those lower prices, they will
        do so—increasing the revenue that the Epic Games Store
        generates. As such, the district court did not clearly err in
        finding that Apple’s anti-steering provision injures Epic.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 79 of 91
                         EPIC GAMES, INC. V. APPLE, INC.            79


           B. Merits
            As relevant here, the UCL prohibits “any [1] unlawful,
        [2] unfair or [3] fraudulent business act or practice.” Cal.
        Bus. & Prof. Code § 17200. As the UCL’s three-prong
        structure makes clear, a business practice may be “unfair,”
        and therefore illegal under the UCL, “even if not specifically
        proscribed by some other law.” Cel-Tech Commc’ns, Inc. v.
        L.A. Cellular Tel. Co., 20 Cal. 4th 163, 180 (1999). The
        unfair prong is “intentionally framed in its broad, sweeping
        language, precisely to enable judicial tribunals to deal with
        the innumerable ‘new schemes which the fertility of man’s
        invention would contrive.’” Id. (quoting Am. Philatelic Soc.
        v. Claibourne, 3 Cal. 2d 689, 698 (1935)); see also People
        ex rel. Mosk v. Nat’l Research Co. of Cal., 201 Cal. App. 2d
        765, 772 (1962) (the UCL covers unfair practices that “may
        run the gamut of human ingenuity and chicanery”).
            The California Supreme Court has refined this “wide
        standard,” Cel-Tech, 20 Cal. 4th at 181, into two tests
        relevant to this litigation. First, to support “any finding of
        unfairness to competitors,” a court uses the “tethering” test,
        which asks whether the defendant’s conduct “threatens an
        incipient violation of an antitrust law, or violates the policy
        or spirit of one of those laws because its effects are
        comparable to or the same as a violation of the law, or
        otherwise significantly threatens or harms competition.” Id.
        at 186–87 (emphasis added). Second, to support a finding of
        unfairness to consumers, a court uses the balancing test,
        which “weigh[s] the utility of the defendant’s conduct
        against the gravity of the harm to the alleged victim.”
        Progressive W. Ins. Co. v. Super. Ct., 135 Cal. App. 4th 263,
        285 (2005) (citation omitted). These tests “are not mutually
        exclusive.” Lozano v. AT&T Wireless Servs., Inc., 504 F.3d
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 80 of 91
        80              EPIC GAMES, INC. V. APPLE, INC.


        718, 736 (9th Cir. 2007) (citing Schnall v. Hertz Corp., 78
        Cal. App. 4th 1144 (2000)).
            Here, the district court applied both tests. Through the
        Epic Games Store, Epic is a games-distribution competitor
        of Apple—triggering the competitor test. Through its
        subsidiaries that have apps on the App Store, Epic consumes
        the app transactions that Apple offers in a two-sided
        market—triggering the consumer test. Cf. Amex, 138 S. Ct.
        at 2286 (each side of two-sided market “jointly consume[s]
        a single product” (citation omitted)). Applying the tethering
        test, the court found that the anti-steering provisions
        “decrease       [consumer]        information,”      enabling
        supracompetitive profits and resulting in decreased
        innovation.       It relied on Apple’s own internal
        communications for the proposition that the anti-steering
        provision prevents developers from using two of the three
        “most effective marketing activities,” push notifications and
        email outreach. It then reiterated these factual findings to
        conclude that the provision also violates the balancing test.
            Apple does not directly challenge the district court’s
        application of the UCL’s tethering and balancing tests to the
        facts of this case. Instead, Apple makes two arguments
        attacking UCL liability as a matter of law. Neither is
        supported by California law.
               1. Safe-Harbor Doctrine
            Apple argues that Epic’s failure to establish Sherman Act
        liability forecloses UCL liability pursuant to the UCL’s “safe
        harbor” doctrine, which bars a UCL action where California
        or federal statutory law “absolutely preclude[s] private
        causes of action or clearly permit[s] the defendant’s
        conduct.” Zhang v. Sup. Ct., 57 Cal. 4th 364, 379–80 (2013).
        The safe-harbor doctrine emphasizes that there is a
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 81 of 91
                         EPIC GAMES, INC. V. APPLE, INC.             81


        “difference between (1) not making an activity unlawful, and
        (2) making that activity lawful.” Cel-Tech, 20 Cal. 4th at
        183; accord Zhang, 57 Cal. 4th at 379. Accordingly, in
        every instance where a court found the Sherman Act to
        preclude a UCL action, a categorical antitrust rule formed
        the basis of the decision. We held that the judge-made
        baseball exemption—that “the business of providing public
        baseball games for profit . . . [is] not within the scope of the
        federal antitrust laws”—precluded a UCL action. City of
        San Jose v. Off. of the Com’r of Baseball, 776 F.3d 686, 689
        (9th Cir. 2015) (quoting Toolson v. N.Y Yankees, Inc., 346
        U.S. 356, 357 (1953)). A California Court of Appeal
        similarly held that the Colgate doctrine—that it is lawful for
        a company to unilaterally announce the terms on which it
        will deal—precluded a UCL action. Chavez v. Whirlpool
        Corp., 93 Cal. App. 4th 363, 367, 373, 375 (2001).
            Neither Apple nor any of its amici cite a single case in
        which a court has held that, when a federal antitrust claim
        suffers from a proof deficiency, rather than a categorical
        legal bar, the conduct underlying the antitrust claim cannot
        be deemed unfair pursuant to the UCL. Indeed, in a leading
        case on the safe-harbor exception, the California Supreme
        Court permitted a UCL claim against a predatory-price
        scheme to proceed even though the plaintiff failed to
        prove—as state antitrust law requires—that the defendant
        intended to harm competition through the scheme. Cel-
        Tech, 20 Cal. 4th at 183. Apple’s rule would convert any
        Rule of Reason shortcoming into a UCL defense and
        undermine the UCL’s three-prong structure by collapsing
        the “unfair” and “unlawful” prongs into each other. We
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 82 of 91
        82                 EPIC GAMES, INC. V. APPLE, INC.


        reject Apple’s proposed rule as foreclosed by California
        law. 22
                2. Importation of Sherman Act Principles
            Apple next argues that two principles from Sherman Act
        case law preclude UCL liability here. We find neither
        argument persuasive. First, Apple contends that the
        Supreme Court’s decision in Amex—finding in favor of
        American Express in a suit challenging its anti-steering
        provision—bars UCL liability stemming from Apple’s anti-
        steering provision. Apple does not explain how Amex’s fact-
        and market-specific application of the first prong of the Rule
        of Reason establishes a categorical rule approving anti-
        steering provisions, much less one that sweeps beyond the
        Sherman Act to reach the UCL. Amex was based on the
        plaintiff’s failure to establish direct evidence of
        anticompetitive effects through a reduction in output,
        supracompetitive pricing, or excessively high profit
        margins; it was not a blanket approval of anti-steering
        provisions. See Amex, 138 S. Ct. at 2288.
            Second, Apple argues that the UCL mandates trial courts
        to define a relevant market and then conduct the balancing
        test within that market (similar to the Rule of Reason).
        Again, Apple does not cite any California authority for this
        proposition. Moreover, such a rule runs contrary to
        California courts’ repeated instruction that “[n]o inflexible
        rule can be laid down as to what conduct will constitute
        unfair competition.” E.g., Pohl v. Anderson, 13 Cal. App.

        22
          Several amici contend that, under current California case law, the UCL
        provides insufficient guidance to businesses. That argument, however,
        fundamentally misunderstands our role when we interpret and apply state
        law while exercising diversity or supplemental jurisdiction.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 83 of 91
                         EPIC GAMES, INC. V. APPLE, INC.              83


        2d 241, 242 (1936) (citation omitted). It also contradicts a
        California Supreme Court decision that conducted
        something akin to quick-look review (in which a precise
        market-definition is not needed) when confronted with
        significant restrictions on the free flow of price information.
        See Oakland-Alameda Cnty. Builders’ Exch. v. F. P. Lathrop
        Constr. Co., 4 Cal. 3d 354, 363–64 (1971) (invalidating a
        prohibition on unsealing competitor bids after bidding had
        culminated on the grounds that it “restrain[ed] open price
        competition and unlawfully tamper[ed] with the pricing
        structure”).
            C. Injunctive Relief
            Apple also argues that (1) the district clearly erred when
        it found that Epic’s injuries were irreparable, and (2) it
        abused its discretion when applying the injunction against all
        developers, not just Epic’s subsidiaries that have apps on the
        App Store. We disagree.
            Even where the UCL authorizes injunctive relief
        pursuant to state law, a federal court must also ensure that
        the relief comports with “the traditional principles governing
        equitable remedies in federal courts.” Sonner v. Premier
        Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020). To issue
        an injunction, the court must find: “(1) that [the plaintiff] has
        suffered an irreparable injury; (2) that remedies available at
        law, such as monetary damages, are inadequate to
        compensate for that injury; (3) that, considering the balance
        of hardships between the plaintiff and defendant, a remedy
        in equity is warranted; and (4) that the public interest would
        not be disserved by a permanent injunction.” Galvez v.
        Jaddou, 52 F.4th 821, 831 (9th Cir. 2022) (quoting eBay Inc.
        v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006)).
        Moreover, injunctive relief must be no “more burdensome to
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 84 of 91
        84                 EPIC GAMES, INC. V. APPLE, INC.


        the defendant than necessary to provide complete relief to
        the plaintiff[].” L.A. Haven Hospice, Inc. v. Sebelius, 638
        F.3d 644, 664 (9th Cir. 2011) (quoting Califano v. Yamasaki,
        442 U.S. 682, 702 (1979)). We review a district court’s
        decision to grant a permanent injunction, and the scope of
        that injunction, for an abuse of discretion and review the
        factual      findings     underlying      the      injunction
        for clear error. NCAA Antitrust Litig., 958 F.3d at 1253.
                1. Issuance of the Injunction
            First, the district court did not clearly err in finding that
        Epic suffered an injury for which monetary damages would
        be inadequate. While economic injury is generally not
        considered irreparable, it is where the underlying injury does
        not readily lend itself to calculable money damages. See
        Rent-A-Ctr., Inc. v. Canyon Television & Appliance Rental,
        Inc., 944 F.2d 597, 603 (9th Cir. 1991). Here, the district
        court found that the anti-steering provision “is not easily
        remedied with money damages,” a finding that has ample
        support in the record. In 2019, there were over 300,000
        games on the App Store. Calculating the damages caused by
        the anti-steering provision would require a protracted and
        speculative inquiry into: the availability of each of those
        300,000 games on the Epic Games Store, the percentage of
        revenue on each game that comes from users who multi-
        home and can therefore substitute, and how high the
        substitution rate would be among those multi-home users. 23


        23
           Apple also asserts—in one sentence and without any authority—that
        the district court abused its discretion in failing to hold that Apple’s
        unclean-hands argument precluded injunctive relief. This passing
        statement was insufficient to raise this issue on appeal. See Singh, 925
        F.3d at 1075 n.22.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 85 of 91
                         EPIC GAMES, INC. V. APPLE, INC.            85


               2. Scope of the Injunction
            Second, the district court did not abuse its discretion
        when setting the scope of the injunctive relief because the
        scope is tied to Epic’s injuries. The district court found that
        the anti-steering provision harmed Epic by (1) increasing the
        costs of Epics’ subsidiaries’ apps that are still on the App
        Store, and (2) preventing other apps’ users from becoming
        would-be Epic Games Store consumers. Because Epic
        benefits in this second way from consumers of other
        developers’ apps making purchases through the Epic Games
        Store, an injunction limited to Epic’s subsidiaries would fail
        to address the full harm caused by the anti-steering
        provision.
        VII.   Attorney Fees
            We reverse the district court’s holding that the DPLA’s
        indemnification provision does not require Epic to pay
        Apple’s attorney fees related to this litigation. Based on the
        DPLA’s choice-of-law provision, we interpret its
        indemnification provision pursuant to California contact-
        interpretation principles. We review the district court’s
        interpretation of a contract de novo. Shivkov v. Artex Risk
        Sols., Inc., 974 F.3d 1051, 1058 (9th Cir. 2020).
            California courts presume that “[a] clause that contains
        the words ‘indemnify’ and ‘hold harmless’ generally
        obligates the indemnitor to reimburse the indemnitee for any
        damages the indemnitee becomes obligated to pay third
        persons—that is, it relates to third party claims, not attorney
        fees incurred in a breach of contract action between the
        parties to the indemnity agreement itself.” Alki Partners, LP
        v. DB Fund Servs., LLC, 4 Cal. App. 5th 574, 600 (2016)
        (emphasis added). However, courts also look to “the context
        in which the language appears.” Id. A contract, therefore,
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 86 of 91
        86               EPIC GAMES, INC. V. APPLE, INC.


        can rebut this presumption with language that “specifically
        provide[s] for attorney’s fees in an action on the contract.”
        Id. at 600–01 (emphasis omitted) (citation omitted). For
        example, the California Court of Appeal read an
        indemnification clause to cover intra-party disputes when
        the clause covered all losses “whether or not arising out of
        third party [c]laims.” Dream Theater, Inc. v. Dream
        Theater, 124 Cal. App. 4th 547, 556–57 (2004). And it did
        the same where an indemnification clause was accompanied
        by a clause clarifying that, in addition to the remedies listed
        in the indemnification clause, each party could also seek
        specific performance for certain breaches of the contract—a
        provision that “would be unnecessary if indemnification
        only referred to third party claims.” Zalkind v. Ceradyne,
        Inc., 194 Cal. App. 4th 1010, 1028 (2011).
            Turning to the facts here, section 10 of the DPLA
        provides that Epic “agree[s] to indemnify and hold harmless,
        and upon Apple’s request, defend, Apple[] . . . from any and
        all claims, losses, liabilities, damages, taxes, expenses and
        costs, including without limitation, attorneys’ fees and court
        costs . . . , incurred by [Apple] and arising from or related
        to” several enumerated grounds. One grounds, clause (i),
        applies to Epic’s “breach of any certification, covenant,
        obligation, representation or warranty in [the DPLA].”
            Clause (i) rebuts the Alki Partners presumption by
        “specifically provid[ing] for attorney’s fees in an action on
        the contract.” 4 Cal. App. 5th at 600–01. It expressly refers
        to Epic’s “breach” of its obligations pursuant to the DPLA—
        contemplating an intra-party action for breach of contract,
        not claims by third parties. The surrounding context of
        section 10 buttresses this conclusion. Section 14.3 of the
        DPLA disclaims that the agreement “is not for the benefit of
        any third parties.” Indeed, Epic has not identified a single
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 87 of 91
                            EPIC GAMES, INC. V. APPLE, INC.                      87


        situation in which a third-party could possibly sue Apple
        pursuant to clause (i). Therefore, we hold that clause (i)
        contemplates intra-party disputes and Apple is entitled to
        attorney fees pursuant to it. 24
                                   CONCLUSION
             To echo our observation from the NCAA student-athlete
        litigation: There is a lively and important debate about the
        role played in our economy and democracy by online
        transaction platforms with market power. Our job as a
        federal Court of Appeals, however, is not to resolve that
        debate—nor could we even attempt to do so. Instead, in this
        decision, we faithfully applied existing precedent to the facts
        as the parties developed them below. For the foregoing
        reasons, we AFFIRM IN PART AND REVERSE AND
        REMAND IN PART.



        S.R. THOMAS, Circuit Judge, concurring in part and
        dissenting in part:

            I agree with much of the majority opinion. I fully agree
        that the district court properly granted Epic injunctive relief
        on its California Unfair Competition Law claims. I also fully
        agree that the district court properly rejected Epic’s illegality
        defenses to the Developer Program Licensing Agreement
        (“DPLA”) but that, contrary to the district court’s decision,
        the DPLA does require Epic to pay attorney fees for its
        breach. On the federal claims, I also agree that the district

        24
           We express no opinion on what portion of Apple’s attorney fees
        incurred in this litigation can be fairly attributed to Epic’s breach of the
        DPLA, such that they fall within the scope of clause (i).
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 88 of 91
        88               EPIC GAMES, INC. V. APPLE, INC.


        court erred in defining the relevant market and erred when it
        held that a non-negotiated contract of adhesion falls outside
        of the scope of Section 1 of the Sherman Act. However,
        unlike the majority, I would not conclude that these errors
        were harmless. An error is harmless if it “do[es] not affect
        the substantial rights of the parties.” 28 U.S.C. § 2111. The
        district court’s errors relate to threshold analytical steps, and
        the errors affected Epic’s substantial rights. Thus, I would
        reverse the district court and remand to evaluate the claims
        under the correct legal standard.
            “A threshold step in any antitrust case is to accurately
        define the relevant market . . . .” Fed. Trade Comm’n v.
        Qualcomm Inc., 969 F.3d 974, 992 (9th Cir. 2020).
        “Without a definition of [the] market there is no way to
        measure [the defendant’s] ability to lessen or destroy
        competition.” Ohio v. Am. Express Co., 138 S. Ct. 2274,
        2285 (2018) (alterations in original) (quoting Walker
        Process Equip., Inc. v. Food Mach. & Chem. Corp., 382 U.S.
        172, 177 (1965)).
            I agree with the majority that the district court erred in
        rejecting Epic’s proffered foremarket. The district court
        rejected the foremarket of mobile operating systems because
        Apple does not sell or license its operating system separately
        from its smartphones. But we have previously recognized
        that such a market can exist. See Digidyne Corp. v. Data
        Gen. Corp., 734 F.2d 1336, 1338–39 (9th Cir. 1984),
        implicitly overruled on other grounds by Ill. Tool Works Inc.
        v. Indep. Ink, Inc., 547 U.S. 28, 31 (2006) (holding that
        separate markets existed for software and hardware even
        when they were always bundled together).
            The district court then rejected Epic’s proposed
        aftermarket of solutions for iOS app payment processing
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 89 of 91
                         EPIC GAMES, INC. V. APPLE, INC.             89


        (“IAP”) because IAP is integrated into the operations
        system. This conclusion was not only legally erroneous, but
        in contradiction to the district court’s factual finding of
        separate demand. See Jefferson Parish Hosp. Dist. No. 2 v.
        Hyde, 466 U.S. 2, 19 (1984) (“[W]hether one or two
        products are involved turns . . . on the character of the
        demand for the two items . . . . not on the functional relation
        between them . . . .”).
            I also agree with the majority that the district court erred
        in holding that a non-negotiated contract of adhesion falls
        outside of the scope of § 1 of the Sherman Act and, therefore,
        the Developer Program License Agreement was not a
        contract covered under § 1.            “‘[E]very commercial
        agreement’. . . among two or more entities” qualifies as a §
        1 agreement. Paladin Assocs., Inc. v. Mont. Power Co., 328
        F.3d 1145, 1154 n.7 (9th Cir. 2003) (emphasis in original)
        (quoting Nw. Wholesale Stationers, Inc. v. Pac. Stationery
        & Printing Co., 472 U.S. 284, 289 (1985)). This includes a
        contract of adhesion. See Perma Life Mufflers, Inc. v. Int’l
        Parts Corp., 392 U.S. 134, 141–142 (1968), overruled on
        other grounds by Copperweld Corp. v. Indep. Tube Corp.,
        467 U.S. 752, 777 (1984).
            The majority holds that the errors were harmless given
        the district court’s analysis of the remaining steps in the Rule
        of Reason analysis. However, there is no direct authority for
        that proposition, and it amounts to appellate court fact-
        finding. Indeed, the Supreme Court has instructed that
        “courts usually cannot properly apply the rule of reason
        without an accurate definition of the relevant market.” Am.
        Express, 138 S. Ct. at 2285.
           Correction of these errors would have changed the
        substance of the district court’s Rule of Reason analysis. See
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 90 of 91
        90              EPIC GAMES, INC. V. APPLE, INC.


        Qualcomm, 969 F.3d at 992. Unless the correct relevant
        market is identified, one cannot properly assess
        anticompetitive effects, procompetitive justifications, and
        the satisfaction of procompetitive justifications through less
        anticompetitive means. The analysis is different; therefore,
        the errors affected substantial rights and cannot be
        considered harmless.
           Relying on the district court’s market does not solve this
        problem. The parties formulated arguments around their
        own markets—not the district court’s market. Remand
        would have given the parties an opportunity to argue
        whether the DPLA worked unfair competition in the district
        court’s market.
            The effect on substantial rights in this case is magnified
        by the majority’s holding that, under County of Tuolumne v.
        Sonora Community Hospital, when the plaintiff shows
        anticompetitive effects but fails to show a less restrictive
        alternative to the defendant’s procompetitive justification,
        the court must balance the anticompetitive harms against the
        procompetitive benefits. 236 F.3d 1148, 1160 (9th Cir.
        2001). The district court did not undertake a formal
        Tuolumne balancing analysis as such, although the majority
        concludes that the district court’s analysis was sufficient.
        Remand for a formal balancing should be required.
        Regardless, the effect of the legal errors on any balancing is
        obvious. The district court analyzed anticompetitive effects
        in terms of increases in the cost of mobile gaming
        transactions—the court’s relevant market. But the court
        could have found greater increases in costs if its analysis
        concerned Epic’s markets, and this would change a properly
        conducted balancing analysis. In essence, any balancing
        done out of the context of a relevant market necessarily
        involves putting a thumb on the balancing scale.
Case 4:20-cv-05640-YGR Document 853 Filed 05/02/23 Page 91 of 91
                        EPIC GAMES, INC. V. APPLE, INC.          91


        Accordingly, the district court’s legal errors “affect[ed
        Epic’s] substantial rights” and therefore were not harmless.
        See 28 U.S.C. § 2111. I would remand for the district court
        to re-analyze the case using the proper threshold
        determination of the relevant market.
            Therefore, I respectfully concur in part and dissent in
        part.
